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       Exhibit C
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                            UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF PENNSYLVANIA




IN RE: NATIONAL FOOTBALL LEAGUE                     No. 2:12-md-02323
PLAYERS’ CONCUSSION INJURY
LITIGATION
                                                    DECLARATION OF KATHERINE
                                                    KINSELLA

I, Katherine Kinsella, being duly sworn, hereby declare as follows:

   1. I am President of Kinsella Media, LLC (“KM”), an advertising and legal notification firm

       in Washington, D.C. specializing in the design and implementation of notification

       programs to reach unidentified putative class members primarily in consumer and

       antitrust class actions and claimants in bankruptcy and mass tort litigation. My business

       address is 2120 L Street, NW, Suite 860, Washington, D.C. 20037. My telephone

       number is (202) 686-4111.

   2. I submit this declaration at the request of the parties in connection with In re: National

       Football League Players’ Concussion Injury Litigation.         A detailed Notice Plan is

       attached.

   3. This declaration is based upon my personal knowledge and upon information provided by

       the parties, my associates, and staff. The information is of a type reasonably relied upon

       in the fields of advertising, media and communications.

   4. KM has developed and directed some of the largest and most complex national

       notification programs in the country. The scope of the firm’s work includes notification

       programs in antitrust, bankruptcy, consumer fraud, mass tort, and product liability

       litigation. Specific cases have involved, among others, asbestos, breast implants, home

       siding and roofing products, infant formula, pharmaceuticals, polybutylene plumbing,
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   tobacco, and Holocaust claims.       The firm has developed or consulted on over 700

   notification programs and has placed over $300 million in media notice.

5. Courts have admitted expert testimony from KM on our firm’s quantitative and

   qualitative evaluations of notice programs. Many Courts have commented favorably, on

   the record, regarding the effectiveness of notice plans prepared by KM.

6. I have testified as an expert at trial and in a deposition in Engle v. R. J. Reynolds

   Tobacco, No. 94-08273 (Fla. Cir. Ct., Dade County). I have been deposed as an expert in

   In re NASDAQ Market-Makers Antitrust Litigation, M21-68 RWS), 94-CIV. 3994

   (RWS), M.D.L. No. 123 (S.D.N.Y.), In re Dow Corning, No. 95-20512 (Bankr. E.D.

   Mich.), Georgine v. Amchem, Inc. et al., C.A. No. 93-CV-0215 (E.D. Pa.), In re W. R.

   Grace & Co., Chapter 11, No.01-01139 (JJF) (Bankr. D. Del.), Gross v. Chrysler Corp.,

   No. 061170 (Md. Cir. Ct., Montgomery County), In re Bluetooth Headset Products

   Liability Litigation, No. 2:07-ML-1822-DSF-E (C.D. Cal.), and Donovan v. Philip

   Morris USA, Inc., No. 06-CA-12234 (D. Mass.). I have testified in court in In re Swan

   Transportation Company, Chapter 11, Case No. 01-11690, Cox v. Shell Oil Co., No.

   18,844 (Tenn. Ch. Ct., Obion County), Ahearn v. Fibreboard Corporation, C.A. No.

   6:93cv526 (E.D. Tex.) and Continental Casualty Co. v. Rudd, C.A. No. 6:94cv458 (E.D.

   Tex.).

7. I am the author of the following:

      a. Buyer Beware: Eight Pitfalls That Can Jeopardize Your Class Action Notice

            Program, published in the July 12, 2013 issue of Class Action Litigation Report.




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      b. The Plain Language Tool Kit for Class Action Notice, published in 2010 in A

           Practitioner's Guide to Class Actions, as well as the October 25, 2002 issue of

           Class Action Litigation Report;

      c. Quantifying Notice Results in Class Actions – the Daubert/Kumho Mandate,

           published in 2010 in A Practitioner's Guide to Class Actions, as well as the July

           27, 2001 issue of Class Action Litigation Report and the August 7, 2001 issue of

           The United States Law Week; and

      d. The Ten Commandments of Class Action Notice, published in the September 24,

           1997 issue of the Toxics Law Reporter.

8. I am also co-author of the following:

      a.   International Class Action Notice, published in 2012 in World Class Action: A

           Guide to Group and Representative Actions Around the Globe;

      b.   Class Notice and Claims Administration, published in 2010 in Private

           Enforcement of Antitrust Law in the United States: A Handbook and in 2012 in

           The International Handbook on Private Enforcement of Competition Law;

      c.   REALITY CHECK: The State of New Media Options for Class Action Notice,

           published in 2010 in A Practitioner's Guide to Class Actions, as well as the

           February 26, 2010 issue of the Class Action Litigation Report; and

      d.   How Viable Is the Internet for Class Action Notice, published in the March 25,

           2005 issue of Class Action Litigation Report.

9. KM was retained to design and implement the Notice Plan in this litigation. I submit this

   declaration to describe the elements of the Notice Plan.




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                                  Proposed Notice Plan

10. A two-part notification plan was designed and includes:

       a. Direct notice by first-class mail to all known Retired NFL Football Players and

           heirs of deceased retired players; and

       b. Broad notice through the use of paid media including national consumer
           magazines, trade publications, television, radio, and Internet advertising.

11. Supplemental Notice will be prepared and implemented after the Settlement becomes
   effective to advise Settlement Class Members of registration and other deadlines, how to
   register for participation in the Settlement, how to participate in the BAP, and how to
   submit Claim Packages or Derivative Claim Packages.



                                   Direct Mail Notice

12. The Settlement Class is made up of a number of discrete groups. In addition to the

   Retired NFL Football Players, there are legal representatives and family members. To

   determine the size and make-up of the Settlement Class, KM worked with proposed

   Claims Administrator, BrownGreer PLC (“BrownGreer”), to develop a comprehensive

   list of Settlement Class Members to whom direct notice can be mailed.

13. BrownGreer worked through a total of 33 datasets, which included some combination of

   living and deceased players’ names, dates of birth, dates of death, team names, years

   played, and the names, addresses, dates of birth, and dates of death of players’

   beneficiaries. In order to build the most comprehensive list, BrownGreer:

       a. Compiled all 33 datasets into one;

       b. Removed duplicate records; and

       c. Separated records of deceased NFL Football Players; and



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       d. Deleted records that only had a name and no address information.

14. BrownGreer worked with LexisNexis in several steps to:

       a. Find the best-known addresses for each individual;

       b. Run through its death database to identify which individuals are deceased; and

       c. Run the dataset of deceased individuals through their first-degree relative

          database to identify known relatives and their best-known addresses. First-degree

          relatives include children, spouses, parents, and siblings;

15. BrownGreer worked with LexisNexis in November and December 2013 to perform the

   above searches. In June 2014, BrownGreer worked with LexisNexis to perform the same

   searches to identify any names or addresses LexisNexis added to their databases, any

   individuals who died, or any first-degree relatives identified in the intervening months.

16. BrownGreer will combine the list of living players and beneficiaries with the list of

   deceased players’ relatives to form the notice mailing list. More detailed information

   about all of BrownGreer’s efforts is included in the Notice Plan.

17. Direct Mail Notice will consist of mailing a cover letter and the Long-form Notice

   (“Notice”) (attached as Exhibit 3 to the Notice Plan) to potential Settlement Class

   Members to inform them of their rights and how they may participate in the Class Action

   Settlement. This Direct Mail Notice will be distributed via first-class mail to:

       a. All readily identifiable Settlement Class Members, which includes Retired

          Football NFL Players and heirs of deceased retired players developed through the

          process previously outlined.

       b. Anyone who calls the toll-free information line, or writes or emails the Claims

          Administrator to request the Long-form Notice.




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18. The Notice will also be available on the Settlement Website as a PDF file.

                                        Paid Media Notice

19. As detailed in the Notice Plan, KM undertook an analysis of the Settlement Class and

   determined there are ethnic, age, and gender differences among the Settlement Class

   Members. The Settlement Class is made up of a number of discrete groups, each of

   which consumes media based on their demographics. In addition to the Retired NFL

   Football Players, there are legal representatives and family members.

20. The Notice Plan is based on specifically reaching consumers who fit within these

   demographic groups of Settlement Class Members.           Therefore, specific media was

   chosen to reach all of the demographic groups included in the Settlement Class. Further

   details about why each medium was chosen are available in the Notice Plan.

                                 Paid Media Placements

21. The proposed media schedule includes advertising in national consumer magazines, trade

   publications, television, radio, and Internet advertising to reach the groups mentioned

   above.

22. The short-form notice (“Summary Notice”) will appear in national consumer magazines

   as follows:

       a. A full-page, color ad (7” x 10”) once in Ebony with an estimated circulation of

            1,250,000.

       b. A full-page, color ad (7” x 10”) twice in People with an estimated circulation of

            3,475,000.

       c. A full-page, color ad (7” x 10”) once in Sports Illustrated with an estimated

            circulation of 3,000,000.




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       d. A full-page, color ad (7" x 10") once in Time with an estimated circulation of

          3,250,000.

23. The Summary Notice will appear in trade publications as follows:

       a. A full-page, color ad (7” x 10”) in Long-Term Living with an estimated

          circulation of 50,080.

       b. A full-page, color ad (7.25” x 10”) in McKnight’s Long-Term Care News &

          Assisted Living with an estimated circulation of 40,200.

       c. A full-page, color ad (7” x 10”) in Provider with an estimated circulation of

          50,200.

       d. A full-page, color ad (7” x 10”) in Senior Living Executive with an estimated

          circulation of 21,808.

24. Thirty-second television commercials (“TV Spots”), which will prominently feature the

   toll-free number and the Settlement Website address, will appear for two to three weeks

   across a variety of national channels and programs. The TV spots will be aired across

   channels and programs targeting Adults 50+ and will run throughout the day in different

   program environments in order to reach the highest number of viewers. A combination

   of broadcast and cable networks will be chosen, including, but not limited to ABC, CBS,

   CNN, The Weather Channel, and Headline News.

25. Thirty-second radio commercials, which will prominently feature the toll-free number

   and the Settlement Website address, will run for two to three weeks on American Urban

   Radio Networks (“AURN”). AURN is the largest network reaching Urban America, and

   reaches an estimated 20 millions listeners each week. These radio networks provide

   additional coverage in markets across the U.S. that have significant African American




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       populations. For this Notice Plan, network radio is being used to primarily reach African

       American Settlement Class Members, as well as Retired NFL Football Players. Radio

       usage is especially high among African Americans as compared to the general

       population.1

    26. Internet advertising will include the following placements for a 30-day period:

           a. Banner advertisements measuring 728x90, 300x250, and 160x600 pixels on a

               rotating basis, on the following targeted websites:

                   i. CNN.com

                   ii. Weather.com

                  iii. Facebook.com

           b. A variety of advertisements on the following networks:

                   i. Microsoft Media Network

                   ii. Specific Media

                  iii. Yahoo!

                                Advertising on NFL Properties

    27. The NFL has agreed to provide notice on the NFL Network. The Notice Plan calls for

       30-second TV Spots to be aired throughout the day in different program environments to

       reach the highest number of viewers over a period of two to three weeks. It is expected

       that the TV Spots will appear across all programming on the NFL Network.

    28. NFL Network viewers are primarily male, which may help reach Retired NFL Football

       Players and male heirs to whom direct mail notice is not possible. It is likely that given

       the importance of having a retired NFL player as part of the family, relatives of these

1
   Target Market News, Media Audit study shows African Americans more engaged with media, at
http://www.targetmarketnews.com/storyid07260702.htm (last visited Nov. 9, 2013).



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   individuals may be engaged in following NFL football and are potential viewers of the

   NFL programming.

29. The NFL has also agreed to provide notice on NFL.com. Notice on NFL.com will allow

   Settlement Class Members to click on a banner ad on that website and be directed to the

   Settlement Website or provide the address to Settlement Class Members textually.

   Banner advertisements (728x90 pixels and 300x250 pixels) will appear on pages

   throughout the site.

30. It is expected that some percentage of Retired NFL Football Players who cannot be

   reached through direct mail notice, as well as family members, will visit the NFL.com

   website.

                                 Additional Outreach

31. In order to reach those people who may know Retired NFL Football Players, and ask

   them to pass along information about the Settlement, KM will undertake additional

   outreach as part of the Notice Plan. This will include:

      a. A mailing to the directors of approximately 60,000 nursing homes, assisted living

          facilities, and rehab facilities. The mailing will include a cover letter requesting

          their assistance in locating Retired NFL Football Players that are in their facilities,

          as well as a copy of the Summary Notice.

      b. Reaching out to various NFL organizations to request they inform their members

          of the Settlement and assist in locating Retired NFL Football Players whose

          addresses are unknown. This includes outreach to individual team organizations,

          alumni groups, and the NFL Player Care Foundation.




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                                   Electronic Notice

32. A Settlement Website will be established to enable potential Settlement Class Members

   to get information on the Settlement.

33. In order to help search engine users locate the Settlement Website – both those

   specifically looking for it and those looking for related topics – KM will purchase

   sponsored links that could appear when searchers enter certain terms on Google and Bing

   search engines.

                             Content and Form of Notices

34. Rule 23(c)(2) of the Federal Rules of Civil Procedure requires class action notices to be

   written in “plain, easily understood language.”         KM applies the plain language

   requirement in drafting notices in federal and state class actions. The firm maintains a

   strong commitment to adhering to the plain language requirement, while drawing on its

   experience and expertise to draft notices that effectively convey the necessary

   information to Settlement Class Members.

35. The Summary Notice, attached as Exhibit 5 to the Notice Plan, is designed to get the

   reader’s attention. The Summary Notice concisely and clearly states, in plain easily

   understandable language, all required information. The Summary Notice refers readers

   to the availability of a Long-form Notice, which is available to those who call or visit the

   website.

36. The Notice will be available at the website or by calling the toll-free number. The Notice

   provides substantial information, including specific instructions Settlement Class

   Members need to follow to properly exercise their rights, and background on the issues in

   the case. It is designed to encourage readership and understanding, in a well-organized

   and reader-friendly format.


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                                            Conclusion

   37. KM estimates that the Direct Mail Notice, in combination with the Paid Media

       Placements, will reach over 90% of Settlement Class Members. It is my opinion that the

       Notice Plan will provide the best notice practicable under the circumstances, and it is

       consistent with the standards employed by KM in notification plans designed to reach

       unidentified members of settlement groups or classes. The Notice Plan as designed is

       fully compliant with Rule 23 of the Federal Rules of Civil Procedure.

I declare under penalty of perjury that the foregoing is true and correct.



                                                                  June 25, 2014

       Katherine Kinsella                                             Date




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                             NOTICE PLAN
               In re: National Football League Players’
                     Concussion Injury Litigation
                             No. 2:12-md-02323

            United States District Court for the Eastern District of
                                 Pennsylvania




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                                              FIRM OVERVIEW
Kinsella Media, LLC (“KM”) is a nationally recognized legal notification firm in Washington, D.C.
specializing in the design and implementation of notification programs to reach unidentified putative
class members primarily in consumer and antitrust class actions and claimants in bankruptcy and mass
tort litigation.

KM has developed and directed some of the largest and most complex national notification programs,
primarily in antitrust, bankruptcy, consumer fraud, mass tort, and product liability litigation. Specific
cases have spanned a broad spectrum of issues, including asbestos, breast implants, home siding and
roofing products, infant formula, pharmaceuticals, polybutylene plumbing, tobacco, and Holocaust
claims. The firm has developed or consulted on over 700 notification programs and has placed over
$300 million in paid media notice. A selection of KM’s case experience and judicial comments about
our notification programs are attached as Exhibits 1 and 2.

KM develops advertisements, press materials, websites, and other notice materials that bridge the gap
between litigation complexities and the need for a clear and simple explanation of legal rights. The firm
employs industry-recognized tools of media measurement to quantify the adequacy of the notice for the
court, and ensures all notice materials are in “plain language” and are fully compliant with Rule 23 of
the Federal Rules of Civil Procedure (“Rule 23”) and comparable state guidelines.




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                              CASE BACKGROUND




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                                            CASE BACKGROUND:
                                            CLASS DEFINITION
The Settlement Class consists of:

    ➢ All living NFL Football players who, prior to the date of the Preliminary Approval and Class
      Certification Order, retired, formally or informally, from playing professional football with the
      NFL or any Member Club, including American Football League, World League of American
      Football, NFL Europe League and NFL Europa League players, or were formerly on any roster,
      including preseason, regular season, or postseason, of any such Member Club or league and who
      no longer are under contract to a Member Club and are not seeking active employment as
      players with any Member Club, whether signed to a roster or signed to any practice squad,
      developmental squad, or taxi squad of a Member Club (“Retired NFL Football Players”);

    ➢ Authorized representatives, ordered by a court or other official of competent jurisdiction under
      applicable state law, of deceased or legally incapacitated or incompetent Retired NFL Football
      Players (“Representative Claimants”); and

    ➢ Spouses, parents, children who are dependents, or any other persons who properly under
      applicable state law assert the right to sue independently or derivatively by reason of their
      relationship with a Retired NFL Football Player or deceased Retired NFL Football Player
      (“Derivative Claimants”).

The Settlement Class includes the following Subclasses:

    ➢ Subclass 1, which shall consist of: “Retired NFL Football Players who were not diagnosed with
      a Qualifying Diagnosis prior to the date of the Preliminary Approval and Class Certification
      Order and their Representative Claimants and Derivative Claimants”;1 and,

    ➢ Subclass 2, which shall consist of: “Retired NFL Football Players who were diagnosed with a
      Qualifying Diagnosis prior to the date of the Preliminary Approval and Class Certification
      Order and their Representative Claimants and Derivative Claimants, and the Representative
      Claimants of deceased Retired NFL Football Players who were diagnosed with a Qualifying
      Diagnosis prior to death or who died prior to the date of the Preliminary Approval and Class
      Certification Order and who received a post-mortem diagnosis of CTE.”




1
 “Qualifying Diagnosis” or “Qualifying Diagnoses” means Level 1.5 Neurocognitive Impairment (early Dementia), Level 2
Neurocognitive Impairment (moderate Dementia), Alzheimer’s Disease, Parkinson’s Disease, ALS, and/or Death with
CTE, as defined in Exhibit 1 (Injury Definitions) of the Settlement Agreement.

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                                            CASE BACKGROUND:
                                         SITUATION ANALYSIS
The Settlement Class is made up of a number of discrete groups. In addition to the Retired NFL
Football Players, there are legal representatives and family members.

To determine the size and make-up of the Settlement Class, KM worked with proposed Claims
Administrator, BrownGreer PLC (“BrownGreer”), to develop a comprehensive list of Settlement Class
Members to whom direct notice could be provided.

The following work has been completed or is in process to build a comprehensive mailing list:

    •    BrownGreer received 31 datasets and created two more, for a total of 33 datasets, which
         included some combination of living and deceased players’ names; dates of birth; dates of
         death; team names; years played; and the names, addresses, dates of birth, and dates of
         death of players’ beneficiaries. None of the datasets provided the same data points.

              o The National Football League (“NFL”) provided seven sets of player data and one
                set of player and beneficiary data.

              o KM provided BrownGreer with three sets of player data, one set of beneficiary
                data, and three sets of combined player and beneficiary data, compiled for use in
                Dryer v. NFL, Case No. 09-cv-02182-PAM-AJB (D.Minn.)

              o Consulting firm ARPC provided BrownGreer with a dataset of deceased players.

              o Various NFL teams provided datasets for living and deceased players and coaches.

              o BrownGreer programmed a web crawler to pull publicly available data from
                NFL.com, the official website of the NFL. A web crawler is a program designed to
                systematically search public websites and record information made available by
                those sites. It maintains a database of statistics for current and historical players,
                and BrownGreer pulled player names, dates of birth, and/or places of birth. Using
                this tool, BrownGreer pulled the full names and dates of birth for 27,267 players
                that the NFL lists as current and past players. This website does not provide
                mailing addresses for any players.

              o BrownGreer also programmed a web crawler to pull publicly available data from
                databasesports.com. Databasesports.com maintains an online database of statistics
                and other information for popular sports, including football. BrownGreer pulled
                player names, positions, dates of birth, and places of birth from that website. After
                comparing this dataset to one KM provided, BrownGreer determined the sets were
                identical and excluded the databasesports.com set from the master dataset.

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              o BrownGreer pulled a list purported to include all professional football players since
                1920 from Pro-Football-Reference.com. This list included 23,204 names of
                players, their position(s) and years played, and a column indicating whether the
                played is deceased.

    •    BrownGreer compiled the datasets described in the preceding paragraphs into a master
         dataset that included approximately 230,105 names, many of which contained duplicative
         information.

    •    To identify and remove duplicate records from the dataset, BrownGreer designed 20 tests
         and database queries to run against the following fields: name, address, date of birth, and
         date of death.

              o Before running the tests, BrownGreer removed spaces and special characters from
                names and addresses. BrownGreer also standardized the abbreviations of
                directions, street suffixes, and other common address terms in all addresses.

    •    The first test identified all records that included only a name with no address information,
         date of birth, or date of death. BrownGreer removed these records from the dataset
         because LexisNexis, to whom BrownGreer will send the completed dataset, is unable to
         locate an address or other identifying information based on a name alone. LexisNexis
         provides addresses, dates of death, and known relative information based on their
         extensive sources, including the Social Security Death Index, the National Change of
         Address Database, national credit agencies and other databases.

    •    The other 19 tests compared names, addresses, dates of birth, and dates of death to
         identify duplicate records, retained the most complete record from among the duplicates,
         and extracted information one record was missing from a less complete, but otherwise
         duplicative record.

    •    After running the 20 tests, BrownGreer removed approximately 153,600 records from the
         dataset.

    •    The final dataset included approximately 76,500 living and deceased players and
         beneficiaries.

    •    BrownGreer then separated out the known deceased individuals and sent the dataset of
         the remaining individuals to LexisNexis.

    •    LexisNexis ran the dataset through their address database and provided BrownGreer with
         a list of best-known addresses for each individual.



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    •    BrownGreer scrubbed the dataset by identifying and removing any duplicate records from
         the results and returned the dataset to LexisNexis.

    •    LexisNexis ran the dataset through their death database and identified which individuals
         are deceased in addition to the previously identified individuals as deceased.

    •    BrownGreer combined the list of individuals LexisNexis identified as deceased to the list
         of known deceased individuals and returned this dataset to LexisNexis.

    •    LexisNexis will run the dataset of deceased individuals through their first-degree relative
         database to identify known relatives and their best-known addresses. First-degree relatives
         include children, spouses, parents, and siblings.

    •    BrownGreer will combine the list of living players and beneficiaries with the list of
         deceased players’ relatives to form the notice mailing list.

Because direct notice in this case will not reach all potential Settlement Class Members, a paid media
notice program targeted to unidentified Settlement Class Members and other third parties is necessary.
The various groups we are trying to reach – unidentified Retired NFL Football Players, spouses, family
members, legal representatives, heirs, and caregivers – have different ethnic, age, and gender differences.
They, therefore, consume different media based on their demographics. The Notice Plan that follows
takes into consideration different media consumption habits as well as the need to reach out to third
parties to assist with finding unidentified Retired NFL Football Players.




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                       NOTICE PLAN OVERVIEW




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                                          NOTICE PLAN OVERVIEW:
                                          PLAN COMPONENTS
This Notice Plan outlines procedures to provide notice of the Settlement of In re: National Football
League Players’ Concussion Injury Litigation as a class action, consistent with the requirements set forth
in Rule 23 of the Federal Rules of Civil Procedure.

Based on information provided by Co-Lead Class Counsel, and the results of research on the
Settlement Class, KM recommends the following Notice Plan.

    ➢ DIRECT NOTICE: The Long-form Notice (Exhibit 3) will be:
                   ➢ Sent via first-class mail to all individuals:
                             ➢ Whose names and addresses are readily identifiable; and
                             ➢ Who request a copy via the toll-free information line or Settlement
                               Website detailed in the Publication Notice.
                   ➢ Available on the informational website as a PDF file.

    ➢ PAID MEDIA-BASED NOTICE: After careful research of the demographics of Settlement
      Class Members, KM recommends broad paid media notice comprised of print, broadcast, and
      Internet vehicles that will reach those Settlement Class Members, including:
                   ➢ National consumer magazines and trade publications;
                   ➢ National television/radio spots;
                   ➢ NFL Network television;
                   ➢ NFL.com Internet advertising; and
                   ➢ Internet banner ads on additional networks and hundreds of targeted websites.

To complement the Notice Plan and to ensure Settlement Class Members’ easy access to updated
information, KM recommends a dedicated informational website and Internet search engine
sponsorships through keyword/phrase searches to facilitate Settlement Class Members’ access to the
site.

SUPPLEMENTAL NOTICE: Supplemental Notice will be prepared and implemented after the
Settlement becomes effective to advise Settlement Class Members of registration and other deadlines,
how to register for participation in the Settlement, how to participate in the BAP, and how to submit
Claim Packages or Derivative Claim Packages.




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                                        NOTICE PLAN OVERVIEW:
                                               DIRECT NOTICE
Direct mail notice will consist of mailing the Long-form Notice in a large 9” x 12” envelope to
identifiable Settlement Class Members, informing them of their legal rights and how they may
participate in the Class Action Settlement. Attached as Exhibit 4 is a depiction of the envelope in
which the Long-form Notice will be mailed.
The Long-form Notice will be sent to:
    ➢ All readily identifiable Settlement Class Members, which includes Retired NFL Football
      Players and heirs of deceased retired players developed through the process previously outlined.
      It is anticipated that the final list will include over 30,000 recipients.

    ➢ Anyone who calls the toll-free information line, or writes or emails the Claims Administrator
      to request the Long-form Notice. The toll-free information line and informational website
      address will appear prominently in the Publication Notice. Settlement Class Members may also
      download the Long-form Notice in PDF format from the informational website.




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                                           NOTICE PLAN OVERVIEW:
                                          PAID MEDIA PROGRAM
Direct notice will be provided to all identifiable Settlement Class Members. Paid media will be used to
reach unidentifiable Settlement Class Members as it is guaranteed to appear and allows for control of
the content, timing, and positioning of the message. Newspapers, consumer magazines, television,
radio, and the Internet, among other sources, offer paid media opportunities.

KM researched the most appropriate media vehicles that would meet the requirements of due process
in reaching unidentifiable Settlement Class Members. KM reviewed available consumer magazines,
trade publications, and Internet advertising sites, and determined that the media discussed below will
provide an efficient plan for reaching potential Settlement Class Members.




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                                  NOTICE PLAN OVERVIEW:
                             PAID MEDIA PLACEMENTS SUMMARY
The following list provides a brief summary of KM’s recommended media placements in this case.
PRINT PUBLICATIONS
         Consumer Magazines
              § Ebony
              § People
              § Sports Illustrated
              § Time
         Trade Publications
                § Long-Term Living
                § McKnight’s Long-Term Care News & Assisted Living
                § Provider
                § Senior Living Executive
BROADCAST
         Television
                § Network Television and Cable
                    § May include:
                          • ABC
                          • CBS
                          • CNN
                          • Headline News
                          • The Weather Channel
                   § NFL Network
         Radio
                   § American Urban Radio Networks
ONLINE MEDIA
         Internet Banner Ads
                § NFL.com
                § CNN.com
                § Facebook.com
                § Weather.com
                § Microsoft Media Network
                § Specific Media
                § Yahoo!
         Keyword Search
               § Google (includes Google, AOL, and Ask.com)
               § Bing (Includes Bing/MSN and Yahoo!)

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                      PAID MEDIA PLACEMENTS




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                                          PAID MEDIA PLACEMENTS:
                                                     OVERVIEW
The paid media placements have been chosen to reach Retired NFL Football Players, spouses, family
members, legal representatives, heirs, and caregivers. As outlined below, some of the media will reach
multiple groups providing greater opportunities for exposure to the message about the Settlement.




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                                          PAID MEDIA PLACEMENTS:
                                         CONSUMER MAGAZINES
Most adults read one or more magazines during an average month and nearly three out of five adults
read or look at a magazine daily. Heavy readers read 16 or more magazines per month. Weekly
magazines quickly accumulate readership and provide timely and efficient notice to readers.

KM recommends the following consumer magazine placements:




    ➢ A full-page, color ad (7” x 10”) in Time with an estimated circulation of 3,250,000.

    ➢ Time is a weekly news magazine covering national and international people, places, and events.

    ➢ Over 50% of Time readers are adults 50 years of age and older (“Adults 50+”).




    ➢ A full-page, color ad in Ebony with an estimated circulation of 1,280,350.

    ➢ Ebony is a black-oriented, general, picture magazine dealing primarily with contemporary
      topics. Features deal with education, history, politics, literature and arts, business, personalities,
      civil rights, sports entertainment, music, and social events.

    ➢ 29% of African-American adults 18 years of age and older (“African American Adults 18+”)
      read an average issue of Ebony.

    ➢ An average issue of Ebony magazine has 7 readers per copy.




    ➢ A full-page, color ad (7” x 10”) twice in People with an estimated circulation of 3,475,000.

    ➢ People is a weekly publication covering contemporary personalities in entertainment, politics,
      business, and other current events.


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    ➢ People is the highest-ranking weekly magazine in coverage of adults 18 years of age and older
      (“Adults 18+”).

    ➢ An average issue of People has 11.87 readers per copy.




    ➢ A full-page, color ad (7” x 10”) in Sports Illustrated with an estimated circulation of 3,000,000.

    ➢ Sports Illustrated is a weekly magazine covering sporting events and personalities through in-
      depth articles and stories.

    ➢ Over 35% of Sports Illustrated's readers are Adults 50+.

    ➢ Men 50 years of age and older (“Men 50+”) are 36% more likely than the average adult to
      read Sports Illustrated.




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                                          PAID MEDIA PLACEMENTS:
                                           TRADE PUBLICATIONS
An important component of the Notice Plan is advertising in trade publications that are read by
individuals who run or work at facilities where Retired NFL Football Players may now live.

KM recommends the following trade publication placements:




    ➢ A full-page ad (7” x 10”) in Long-Term Living with an estimated circulation of 50,080.

    ➢ Long-Term Living is published nine times per year and provides practical, in-depth, business-
      building, and patient/resident care information. Its readers are owners, administrators, and
      directors of nursing at skilled nursing care and assisted living facilities; continuing care
      retirement centers; post-acute care facilities; and independent living communities.




    ➢ A full-page ad (7.25” x 10”) in McKnight’s Long-Term Care News & Assisted Living with an
      estimated circulation of 40,200.

    ➢ McKnight’s Long-Term Care News & Assisted Living is published monthly. Editorial content
      provides reports on the events that affect the way care is delivered across the entire long-term
      care spectrum, ranging from the lower acuity assisted living setting, to the high acuity skilled
      nursing setting.




    ➢ A full-page ad (7” x 10”) in Provider with an estimated circulation of 50,200.

    ➢ Provider is published monthly and is targeted to administrators, owners, multi-facility CEOs,
      medical directors, directors of nursing, certified nurse assistants, MD/DD staff and other key
      long-term staff specialists in facilities throughout the United States. Provider’s editorial focuses
      on key areas of industry concern, including: legislative and regulatory policy initiatives, business
      development and management, facility administration, nursing, marketing and consumer
      relations, resident care, financing and reimbursement, legal issues, and products and services.



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    ➢ A full-page ad (7” x 10”) in Senior Living Executive with an estimated circulation of 21,808.

    ➢ Senior Living Executive is published six times per year and is the official publication of the
      Assisted Living Federation of America. The magazine reaches mid- to large-size owners and
      operators of professionally managed assisted living communities. Written to top-level
      executives, the magazine offers solutions and strategies aimed at helping readers improve their
      companies’ operational excellence including merger/acquisition pointers, performance
      management strategies, systems and infrastructure enhancements and services to residents.




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                                            PAID MEDIA PLACEMENTS:
                                                    TELEVISION
Television has the ability to reach a wide number of target audience members with an immediate and
accessible message. The combination of audio and visual message delivery increases the message impact.
Viewers can quickly ascertain if the message is important and if so, decide to respond.
For this notice, there will be two television components:

    ➢ First, the NFL has agreed to make the NFL Network available for television advertisements.
      Notice will be aired throughout the day in different program environments to reach the highest
      number of viewers over a period of three weeks.
    ➢ Second, television advertisements will be aired across channels and programs targeting Adults
      50+. The Notice Plan calls for notice to be aired throughout the day in different program
      environments to reach the highest number of viewers. A combination of broadcast and cable
      networks will be chosen, including, but not limited to, ABC, CBS, CNN, Headline News, and
      The Weather Channel.
Delivery Estimates:
    ➢ KM is requesting that the NFL deliver an estimated 10 Gross Rating Points (“GRPs2”) against
      Men 18 years of age and older (“Men 18+”) by airing 30-second commercials across all
      programming/dayparts3 on the NFL Network.
    ➢ An estimated 82 television and cable Gross Rating Points (“GRPs”) over a total of two weeks
      generating 84,976,600 gross impressions 4 against Adults 50+.
The television schedule will be allocated as follows:
                                                                        Network	  Daytime	  (9A-­‐3P)	  
                                14.8%	  
               6.5%	                                                   Network	  Evening	  News	  (5P-­‐7P)	  
                                                30.7%	  
             4.5%	                                                     Network	  Prime	  (8P-­‐11P)	  

                          8.6%	                                        Cable	  Daytime	  (9A-­‐3P)	  

                                                                        Cable	  Early	  Fringe	  (3P-­‐5P)	  
                                        34.9%	  
                                                                        Cable	  Prime	  (8P-­‐11P)	  
2
  Gross Rating Points (GRPs) represent the sum of all ratings delivered by the media vehicles in a schedule. A
rating is the percentage of households or persons in the target audience who have been exposed to the media
vehicles in the schedule. One GRP equals 1% of a given target population.
3
  Dayparts are time segments into which the broadcast day is divided. In television, the dayparts are usually
daytime (morning and afternoon), early fringe, prime time and late fringe. Other designations can be used such
as early news or late news.
4
  Gross Impressions are the duplicated sum of audiences of all media vehicles containing the notice.

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                                          PAID MEDIA PLACEMENTS:
                                               NATIONAL RADIO
National radio is bought in the form of network programming. This programming can be tailored for a
specific age group of people based on the typical listeners to a network. For this Notice Plan, network
radio will be purchased primarily to reach African American Settlement Class Members, as well as
Retired NFL Football Players. Radio usage is especially high among African Americans as compared to
the general population, as is television usage.5

The Radio Spot for this plan will be designed to appeal specifically to Settlement Class Members. Each
30-second spot will heavily promote the Settlement Website address for Settlement Class Members to
obtain more information and register for benefits after the Settlement becomes effective. The Radio
Spot will alert Settlement Class Members to the nature of the litigation.

KM recommends placing the Radio Spot on:

AMERICAN URBAN RADIO NETWORKS
    ➢ American Urban Radio Networks (“AURN”) is the largest network reaching urban America.
      AURN reaches an estimated 20 million listeners each week. Networks include programming
      such as: “Russ Par Weekend Show,” “Bobby Jones Gospel Countdown,” “The Bev Smith
      Show,” and “Dr. Ian Smith,” among others. These radio networks provide additional coverage
      in markets across the U.S. that have significant African American populations.




5
   Target Market News, Media Audit study shows African Americans more engaged with media, available at
http://www.targetmarketnews.com/storyid07260702.htm.

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                                          PAID MEDIA PLACEMENTS:
                                         INTERNET ADVERTISING
Like the television portion of the Notice Plan, there are two components to the Internet portion of the
Notice Plan. First, the NFL has agreed to provide Internet advertising on NFL.com. Second, KM
recommends Internet on additional networks and targeted sites to reach potential Settlement Class
Members. Internet advertising will provide potential Settlement Class Members with additional
national notice opportunities beyond the broad-reaching print, radio, and television program. Internet
advertising delivers an immediate message and allows the viewer of an advertisement to instantly click
through to a website for further information.

Delivery of Internet impressions to specific sites and categories within sites are subject to availability at
the time KM purchases the media.

WEBSITE ADVERTISING
KM recommends placing ads on the following targeted websites:

    ➢ CNN.com
    ➢ Weather.com
    ➢ Facebook.com
    ➢ NFL.com

KM recommends placing Internet advertising on the following networks for approximately 30 days:




    ➢ Microsoft Media Network is a premium ad network of top-ranked commercial sites.




    ➢ Specific Media is a leading portfolio of websites attracting large and engaged audiences on the
      web.




    ➢ Yahoo! is a leading Internet brand and a global online network of integrated services providing
      users with entertainment and other quality content.




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KEYWORD SEARCH ADS
Search engines are among the Internet’s most frequently used sites. In order to help search engine users
locate the informational website about this case – both those specifically looking for it and those
looking for related topics – KM will purchase sponsored links that may appear when searchers enter
certain terms.

Keyword search ads will appear on Google (includes Google, AOL, and Ask.com) and Bing (includes
Bing/MSN and Yahoo!) search engines. KM will contract with Google AdWords to place Google ads,
and with Microsoft Ad Center to place Bing ads. Possible keyword/phrase searches could include:

       ➢ NFL Concussion Class Action
       ➢ NFL Concussion Settlement
       ➢ NFL Concussion Lawsuit
       ➢ NFL Brain Injury

After KM contracts with the search engines for sponsored links of the selected keywords/phrases, a user
entering an applicable keyword/phrase may see an ad similar to the sample ad below either in the
section above non-sponsored results or in the right-hand column under the Sponsored Sites/Results
section:


                                 NFL Concussion Settlement
                                 Settlement of lawsuit
                                 benefits retired players & families
                                 http://www.NFLConcussionSettlement.com




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                                EFFECTIVENESS OF NOTICE PLAN
The paid media program outlined in this Plan provides Settlement Class Members with multiple
exposure opportunities to media vehicles carrying the Notice.
In addition to the paid media, Direct Notice to known Settlement Class Members will increase
opportunities to reach the Settlement Class. Also, given the prominence of the NFL and the issues
resolved by this Settlement, KM believes that extensive media coverage will result when the Settlement
Agreement is filed and made public. This coverage is expected to further increase the reach of the Plan
by making unknown Settlement Class Members aware of the Settlement, providing an option to
contact the Claims Administrator for more information.

    ➢ KM estimates that the Direct Notice, in combination with the paid media placements, will
      reach over 90% of Settlement Class Members.




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                                      NOTICE DESIGN




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                                                  NOTICE DESIGN:
                                            LONG-FORM NOTICE
The Long-form Notice is compliant with Rule 23 and consistent with the Federal Judicial Center’s
“illustrative” class action notices. Specifically, the Long-form Notice clearly and concisely states in
plain, easily understood language:
         ➢ The nature of the action;
         ➢ The definition of the settlement class to be finally certified;
         ➢ The class claims, issues, or defenses;
         ➢ That a settlement class member may enter an appearance through an attorney if the
           member so desires;
         ➢ That the Court will exclude from the settlement class any member who requests exclusion;
         ➢ The time and manner for requesting exclusion; and
         ➢ The binding effect of a class judgment on members under Rule 23 (c)(3).

The Long-form Notice has been designed to draw attention to all sections, and laid out so that
complicated information can be more easily digested. The Long-form Notice will prominently feature
a toll-free number and website address for Settlement Class Members to obtain more information and
to register to receive benefits after the Settlement becomes effective.




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                                                  NOTICE DESIGN:
                                              SUMMARY NOTICE
Rule 23(c)(2) of the Federal Rules of Civil Procedure requires notices in 23(b)(3) class actions to be
written in “plain, easily understood language.” KM applies the plain language requirement in drafting
all notices in federal and state class actions. The firm maintains a strong commitment to adhering to
the plain language requirement, while drawing on its experience and expertise to draft notices that
effectively convey the necessary information to Settlement Class Members.

The plain language Summary Notice (Exhibit 5) is designed to alert Settlement Class Members to the
litigation by using a bold headline. This headline will enable Settlement Class Members to quickly
determine if they are potentially affected by the litigation. Plain language text provides important
information regarding the subject of the litigation, the Settlement Class definition and the legal rights
available to Settlement Class Members. The Summary Notice will include all the substantive
information required by Rule 23.

Each advertisement will prominently feature a toll-free number and website for Settlement Class
Members to obtain the Long-form Notice and other information.




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                                                  NOTICE DESIGN:
                                           RADIO AND TV SPOTS
The Radio and Television Spots will be designed to appeal to Settlement Class Members and attract
their attention. The audio of the Radio Spot and the visuals of the TV Spot will quickly alert listeners
and viewers to the subject matter of the Settlement and help them determine whether they may be
potential Settlement Class Members. Both Spots will prominently feature the address of the
Settlement Website and toll-free telephone number where Settlement Class Members can obtain more
information and register for benefits after the Settlement becomes effective. Both the Radio Spot and
the Television Spot will run for 30 seconds.




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                                                  NOTICE DESIGN:
                                    WEBSITE AND INTERNET ADS
An informational interactive website is a critical component of the Notice Plan. A website is a constant
information source instantly accessible to millions. In this case, the Settlement Website will capitalize
on the Internet’s ability to distribute information and provide access to customer service. Internet
banner ads and keyword search ads will help direct Settlement Class Members to the Settlement
Website.
WEBSITE DESIGN
Combining clean site design, consistent site navigation cues and search engine optimization, the
Settlement Website will provide Settlement Class Members with easy access to the details of the
litigation.

    ➢ CLEAN DESIGN: The site will be designed for ease of navigation and comprehension, with
      user-friendly words and icons. Clearly labeled content will include the Detailed Notice, court
      documents, and answers to frequently asked questions. A “Contact Us” page will provide a toll-
      free number for individuals seeking additional information and the address or email of Co-Lead
      Class Counsel, Class Counsel, and Subclass Counsel.

    ➢ ONLINE REGISTRATION: In an effort to make it even easier for Settlement Class Members to
      receive information and/or register for benefits after the Settlement becomes effective, the
      Settlement Website will allow users to request hard copies of materials, and/or register online.

INTERNET BANNER AD DESIGN
KM will design Internet advertisements to alert Settlement Class Members to the litigation by using a
bold headline. The headline will enable Settlement Class Members to determine quickly if they may be
affected by the litigation. When users click on the banner advertisement, they will be connected to the
informational website that contains complete information about their legal rights.




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                                TOLL-FREE TELEPHONE SUPPORT
A toll-free phone information line will be established to service Settlement Class Members calling as a
result of seeing the paid media notice or receiving a Long-form Notice in the mail. Live operators will
staff the toll-free line call center during business hours. An interactive voice response (“IVR”) system
will be used to provide answers to frequently asked questions during the hours that the call center will
not have live operators. Potential Settlement Class Members will also have the ability to leave their
name and telephone number to receive a call back.




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                          ADDITIONAL OUTREACH OPPORTUNITIES
One important component of the Notice Plan is reaching people who may know Retired NFL Football
Players, and asking them to pass along information about the Settlement to those retired players. This
may include friends, family members, and potential caregivers of Retired NFL Football Players. KM
recommends the following outreach:

    Ø DIRECT MAILING TO REST HOMES/NURSING FACILITIES: KM will mail a notice
       to the directors of approximately 60,000 nursing homes, assisted living facilities, rehab facilities.
       The mailing will include a cover letter and summary notice requesting their assistance in
       locating Retired NFL Football Players that are in their facilities.


    Ø OUTREACH TO NFL ORGANIZATIONS: KM will reach out to various NFL
       organizations to request that they inform their members of the Settlement and assist in locating
       Retired NFL Football Players whose addresses are unknown. This includes outreach to
       individual team organizations, alumni groups, and the NFL Player Care Foundation.




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       Exhibit C-1
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                                   Kinsella Media, LLC
                                 Relevant Case Experience


Antitrust
Big Valley Milling, Inc. v. Archer Daniels Midland Co., No. 65-C2-96-000215 (Minn. Dist. Ct. Renville
County) (lysine).

Carlson v. Abbott Laboratories, No. 94-CV-002608 (Wis. Cir. Ct. Milwaukee County) (infant
formula).

Comes v. Microsoft Corp., No. CL8231 (Iowa Dist. Ct. Polk County)

Connecticut v. Mylan Laboratories, Inc., No. 99-276, MDL No. 1290 (D.D.C.) (pharmaceutical).

Conroy v. 3M Corp., No. C-00-2810 CW (N.D. Cal.) (invisible tape).

Copper Antitrust Litigation, MDL 1303 (W.D. Wis.) (physical copper).

Cox v. Microsoft Corp., No. 105193/00 (N.Y. Sup. Ct. N.Y. County) (software).

D.C. 37 Health & Security Plan v. Medi-Span, No. 07-cv-10988 (D.Mass.); New England Carpenters
Health Benefits Fund v. First DataBank, Inc., No. 1:05-CV-11148 (D. Mass.) (pharmaceutical).

Ferrell v. Wyeth-Ayerst Laboratories, Ltd., No. C-1-01-447 (S.D. Ohio)

Giral v. Hoffman-LaRoche Ltd., C.A. No. 98 CA 7467 (W. Va. Cir. Ct., Kanawha County) (vitamins).

In re Buspirone Antitrust Litigation, MDL No. 1413 (S.D.N.Y.) (pharmaceutical).

In re Cardizem Antitrust Litigation, 200 F.R.D. 326 (E.D. Mich.) (pharmaceutical).

In re Compact Disc Minimum Price Antitrust Litigation, MDL No. 1361 (D. Me.) (compact discs).

In re Insurance Brokerage Antitrust Litig., MDL No. 1663 Civil No. 04-5184 (FSH) (D.N.J.)
(insurance).

In re International Air Transportation Surcharge Antitrust Litigation, No. M 06-1793, MDL No. 1793
(N.D. Cal.) (airline fuel surcharges).
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In re Monosodium Glutamate Antitrust Litig., D-0202-CV-0200306168, D-202-CV-200306168
(N.M. Dist. Ct., Bernalillo County) (MSG).

In re Motorsports Merchandise Antitrust Litigation, No. 1:97-CV-2314-TWT (N.D. Ga.)
(merchandise).

In re Nasdaq Market-Makers Antitrust Litigation, MDL No. 1023 (S.D.N.Y.) (securities).

In re Pharmaceutical Industry Average Wholesale Price Litigation, No. CA:01-CV-12257, MDL No.
1456 (D. Mass.) (pharmaceutical).

In re Toys “R” Us Antitrust Litigation, No. CV-97-5750, MDL No. 1211, (E.D.N.Y.) (toys and other
products).

In re Western States Wholesale Natural Gas Antitrust Litigation, No. CV-03-1431, MDL No. 1566, (D.
Nev) (natural gas).

Kelley Supply, Inc. v. Eastman Chemical Co., No. 99CV001528 (Wis. Cir. Ct., Dane County)
(Sorbates).

Ohio vs. Bristol-Myers Squibb, Co., No. 1:02-cv-01080 (D.D.C.) (pharmaceutical).

Raz v. Archer Daniels Midland Co., Inc., No. 96-CV-009729 (Wis. Cir. Ct. Milwaukee County) (citric
acid).


Consumer and Product Liability
Azizian v. Federated Department Stores, Inc., No. 4:03 CV-03359 (N.D. Cal.) (cosmetics).

Baird v. Thomson Consumer Elecs., No. 00-L-000761 (Ill. Cir. Ct., Madison County) (television).

Bonilla v. Trebol Motors Corp., No. 92-1795 (D.P.R.) (automobiles).

Burch v. American Home Products Corp., No. 97-C-204 (1-11) (W. Va. Cir. Ct., Brooke County) (Fen
Phen).

Cosby v. Masonite Corp., No. CV-97-3408 (Ala. Cir. Ct. Mobile County) (siding product); Quin v.
Masonite Corp., No. CV-97-3313 (Ala. Cir. Ct. Mobile County) (roofing product).

Cox v. Shell Oil Co., No. 18,844 (Tenn. Ch. Ct. Obion County) (polybutylene pipe).
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Daniel v. AON Corp., No. 99 CH 11893 (Ill. Cir. Ct. Cook County) (insurance).

Fettke v. McDonald’s Corp., No. 044109 (Cal. Super Ct. Marin County) (trans fatty acids).

Florida v. Nine West Group, Inc., No. 00 CIV 1707 (S.D.N.Y.) (shoes).

Foothill/De Anza Community College Dist. v. Northwest Pipe Co., No. 00-20749-JF(N.D. Cal.) (fire
sprinklers).

Galanti v. The Goodyear Tire & Rubber Company, No. 03-209 (D.N.J.) (radiant heating) (2002).

Garza v. Sporting Goods Properties, Inc., No. SA 93-CA-1082 (W.D. Tex.) (gun ammunition).

Government Employees Hospital Association v. Serono International, No. 5-11935 (D. Mass.), and
Francis v. Serono Laboratories, Inc., No. 6-10613 (D. Mass.).

Hoorman v. GlaxoSmithKline, No. 04-L-715 (Ill. Cir. Ct., Madison Cty.) (Paxil pharmaceutical).

In re Louisiana Pacific Corp. Inner Seal OSB Trade Practices Litigation, MDL No. 1114 (N.D. Cal.)
(oriented strand board).

In re Tri-State Crematory Litig, MDL 1467 (N.D. Ga.) (improper burial).

Lebrilla v. Farmers Group Inc., No. 00-CC-07185 (Cal. Super. Ct., Orange County) (auto insurance).

Lovelis v. Titflex, No. 04-211 (Ak. Cir. Ct., Clark County) (gas transmission pipe).

Naef v. Masonite Corp., No. CV-94-4033 (Ala. Cir. Ct. Mobile County) (hardboard siding product).

Peterson v. BASF Corp., No. C2-97-295 (D. Minn.) (herbicide).

Posey v. Dryvit Sys., Inc. No. 17,715-IV (Tenn. Cir. Ct., Jefferson County) (EIFS stucco).

Reiff v. Epson America, Inc. and Latham v. Epson Am., Inc., J.C.C.P. No. 4347 (Cal. Super. Ct., L.A.
County) (ink jet printers).

Richison v. Weyerhaeuser Company Limited, No. 05532 (Cal. Super. Ct. San Joaquin County) (roofing
product).

Ruff v. Parex, Inc., No. 96-CvS 0059 (N.C. Super. Ct. Hanover County) (synthetic stucco product).
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Shah v. Re-Con Building Products, Inc., No. C99-02919 (Cal. Super. Ct. Contra Costa County)
(roofing product).

Shields vs. Bridgestone/Firestone, Inc., Bridgestone Corp., No. E-167.637 (D. Tex.) (tires).

Smith v. Behr Process Corp., No. 98-2-00635 (Wash. Super. Ct., Gray Harbor County) (stain product).

Weiner v. Cal-Shake, Inc., J.C.C.P. No. 4208 (Cal. Super. Ct., Contra Costa County) (roofing
product).

Wholesale Elec. Antitrust Cases I & II, J.C.C.P. Nos. 4204 & 4205 (Cal. Super. Ct., San Diego County)
(energy).

Woosley v. State of California, No. CA 000499 (Cal. Super. Ct., Los Angeles County) (automobiles).


Mass Tort
Ahearn v. Fibreboard Corp., No. 6:93cv526 (E.D. Tex); Continental Casualty Co. v. Rudd, No.
6:94cv458 (E.D. Tex) (asbestos injury).

Backstrom v. The Methodist Hospital, No. H.-94-1877 (S.D. Tex.) (TMJ injury).

Engle v. RJ Reynolds Tobacco Co., No. 94-08273 (Fla. Cir. Ct. Dade County) (tobacco injury).

Georgine v. Amchem, Inc., No. 93-CV-0215 (E.D. Pa.) (asbestos injury).


Bankruptcies
In re Armstrong World Industries, Inc., No. 00-4471 (Bankr. D. Del.).

In re Dow Corning, No. 95-20512 (Bankr. E.D. Mich.) (breast implants).

In re Johns-Manville Corp., 68 B.R. 618, 626 (Bankr. S.D.N.Y.) (asbestos).

In re Kaiser Aluminum Corp., No. 02-10429 (JFK) (D. Del).

In re Owens Corning, No. 00-03837 (Bankr. D. Del.).

In re Raytech Corp., No. 5-89-00293 (Bankr. D. Conn.) (asbestos).

In re The Celotex Corp., Nos. 90-10016-8B1 and 90-10017-8B1 (Bankr. M.D. Fla.) (asbestos).
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In re U.S. Brass Corp., No.94-40823S (Bankr. E.D. Tex.) (polybutylene).

In re USG Corp., Nos. 01-2094 - 01-2104 (Bankr. D. Del.).

In re W.R. Grace & Co., No. 01-01139 (Bankr. D. Del.).


Insurance
McNeil v. American General Life and Accident Insurance Co., No. 8-99-1157 (M.D. Tenn.) (insurance).

Nealy v. Woodmen of the World Life Insurance Co., No. 3:93 CV-536 (S.D. Miss.) (insurance).


Holocaust Victims Reparations
In re Holocaust Victim Assets Litigation, Nos. CV 96-4849, CV-5161 and CV 97-461 (E.D.N.Y.)
(Holocaust).

The International Commission on Holocaust Era Insurance Claims Outreach


Pension Benefits
Collins v. Pension Benefit Guarantee Corp., No. 88-3406 (D.D.C.); Page v. Pension Benefit Guarantee
Corp., No. 89-2997 (D.D.C.).

Forbush v. J. C. Penney Co., Inc., Nos. 3:90-2719 and 3:92-0109 (N.D. Tex.).


International
Ahearn v. Fiberboard Corporation, No. 6:93cv526 (E.D. Tex) and Continental Casualty Co. v. Rudd,
No. 6:94cv458 (E.D. Tex.) (asbestos injury) (1993).

Galanti v. The Goodyear Tire & Rubber Company, No. 03-209 (D.N.J.) (radiant heating) (2002).

In re Holocaust Victims Assets Litigation, No. CV 96-4849 (ERK) (MDG) (Consolidated with CV-
5161 and CV 97461) (E.D.N.Y.) (2003).

In re Owens Corning, Chapter 11, No. 00-03837 (MFW) (Bankr. D. Del.) (2006).

In re The Celotex Corporation, Chapter 11, Nos. 90-10016-8B1 and 90-10017-8B1 (Bankr. M.D. Fla.)
(1996).
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In re USG Corporation, Chapter 11, Nos. 01-2094 (RJN) through 01-2104(RJN) (Bankr. D. Del.)
(2006).

In re W.R. Grace & Co., Chapter 11, No. 01-01139 (Bankr. D. Del.) (bankruptcy) (2001).

In re Western Union Money Transfer Litigation, No. 01 0335 (CPS) (VVP) (E.D.N.Y.) (wire
transactions) (2004).

International Committee on Holocaust Era Insurance Claims (1999).


Product Recall
Central Sprinkler Voluntary Omega Sprinkler Replacement Program

Hart v. Central Sprinkler Corp., No. BC17627 (Cal. Super. Ct. Los Angeles County) & County of
Santa Clara v. Central Sprinkler Corp., No. CV 17710119 (Cal. Super. Ct. Santa Clara County)


Telecom
Bidner, et al. v. LCI International Telecom Corp d/b/a Qwest Communications.

Community Health Association v. Lucent Technologies, Inc., No. 99-C-237, (W.Va. Cir. Ct., Kanawha
County).

Cundiff et al. v. Verizon California, Inc., No. 237806 (Cal. Super Ct., Los Angeles County).

Kushner v. AT&T Corporation, No. GIC 795315 (Cal. Super. Ct., San Diego County).

Rish Enterprise v. Verizon New Jersey, No. MID-L-8946-02 (N.J. Super. Ct.).

Sonnier, et. al. v. Radiofone, Inc., No. 44-844, (L.A. Jud. Dist. Ct., Plaqueimes Parish County).

State of Louisiana v. Sprint Communications Company L.P., No. 26,334 (Jud. Dis. Ct., Parish of West
Baton Rouge) and State of Louisiana v. WilTel, Inc., No. 26,304 (Jud. Dis. Ct., Parish of West Baton
Rouge).


Other
Cobell v. Salazar, No. 96-01285 (D.D.C.) (Individual Indian Money accounts).

Dryer v. National Football League, No. 9-02182 (D. Minn.) (publicity rights).
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In re Black Farmers Discrimination Litigation, No. 08-511 (D.D.C.) (African American farm loans).

Keepseagle v. Vilsack, No. 99-03119 (D.D.C.) (Native American farm loans).
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                                     Kinsella Media, LLC
                                        Judicial Comments

Ahearn v. Fibreboard Corp., No. 6:93 cv526 (E.D. Tex.); Continental Casualty Co. v. Rudd, No.
6:94cv458 (E.D. Tex.).
In approving the notice plan for implementation in the Ahearn and Rudd class actions in 1994, Judge
Parker stated, "I have reviewed the plan of dissemination, and I have compared them to my knowledge
at least of similar cases, the 0notices that Judge Weinstein has worked with [Agent Orange] and Judge
Pointer [Silicon Gel Breast Implants], and it appears to be clearly superior." - Chief Judge Robert M.
Parker (1994)

Azizian v. Federated Department Stores, Inc., No. 3:03 CV-03359 (N.D. Cal.).
“The notice was reasonable and the best notice practicable under the circumstances; was due, adequate
and sufficient notice to all class members; and complied fully with the laws of the United States and of
the Federal Rules for Civil Procedure, due process and any other applicable rules of court.” - Hon.
Sandra Brown Armstrong (2004)

Cobell v. Salazar, No. 1:96CV01285 (D.D.C.)
“I have never seen, and I handled the largest price-fixing case in the history of the United States, the In
re: Vitamins case, notice to the extent sent out in this case, . . . . I allowed them to provide notice in
every possible way, including personally going out and visiting all of the affected tribal areas. It is just
not a letter from Washington. It is a tremendous effort that was undergone, both by the plaintiffs
principally and some by the government, to not only give notice but to explain what happened . . . .
There is just no question that this was covered in all of the local papers constantly. It was covered in all
of the local advertising outlets. It was hard to miss. As a side note, I go to Montana two or three times a
year, and you could not miss….”

“I have already found that there is extensive and extraordinary notice here. We even had a notice expert
retained in how to do it properly.” - Hon. Thomas F. Hogan (June 2011)

“Notice met and in many cases exceeded the requirements of F.R.C.P. 23(c)(2) for classes certified
under F.R.C.P. 23(b)(1), (b)(2) and (b)(3). The best notice practicable has been provided class
members, including individual notice where members could be identified through reasonable effort.
 The contents of that notice are stated in plain, easily understood language and satisfy all requirements
of F.R.C.P. 23(c)(2)(B).” - Hon. Thomas F. Hogan (July 2011)

Collins v. Pension Benefit Guarantee Corp., No. 88-3406 (D.D.C.).
"The notice provided was the best notice practicable under the circumstances. Indeed, the record shows that
the notice given was consistent with the highest standards of compliance with Rule 23(e)." (1996)
Cox v. Microsoft Corp., No. 105193/00 (N.Y. Sup. Ct. N.Y. County).
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“The court finds that the combination of individual mailing, e-mail, website and publication notice in
this action is the most effective and best notice practicable under all the circumstances, constitutes due,
adequate and reasonable notice to all Class members and otherwise satisfies the requirements of CPLR
904, 908 and other applicable rules. The Settlement meets the due process requirement for class
actions by providing Class members an opportunity either to be heard and participate in the litigation
or to remove themselves from the Class.” - Hon. Karla Moskowitz (2006)

Cox v. Shell Oil Co., No. 95-CV-2 (Tenn. Ch. Ct. Obion County)
In the order approving the settlement of the polybutylene pipe class action, Judge Maloan stated, “The
Court finds the notice program is excellent. As specified in the findings below, the evidence supports
the conclusion that the notice program is one of the most comprehensive class notice campaigns ever
undertaken.” (1995)

Dick v. Sprint, No. 12-cv-00443 (W.D. Ky.)
“In sum, the notice in the case at bar is adequate under Fed. R. Civ. P. 23 and the standards of due
process. It was directed in reasonable manner to all prospective class members who would be bound by
the Settlement Agreement. Moreover, it fairly apprised the prospective class members of the terms of
the proposed Settlement Agreement and their options with respect to their decision whether to join the
class.” - Hon. Thomas B. Russell (2014)

Foothill/De Anza Community College District v. Northwest Pipe Co., No. CV-00-20749 (N.D. Cal.)
“The Court finds that the settling parties undertook a thorough and extensive notice campaign
designed by Kinsella/Novak Communications, Ltd., a nationally-recognized expert in this specialized
field. The Court finds and concludes that the Notice Program as designed and implemented provides
the best practicable notice to the Class, and satisfied requirements of due process.” – Hon. Jeremy
Fogel (2004)

Galanti v. The Goodyear Tire & Rubber Co., No. 03-209 (D.N.J.)
“The published notice, direct notice and Internet posting constituted the best practicable notice of the
Fairness Hearing, the proposed Amended Agreement, Class Counsels’ application for fees, expenses
and costs, and other matters set forth in the Class Notice and the Summary Notice. The notice
constituted valid, due and sufficient notice to all members of the Settlement Classes, and complied fully
with the requirements of Rule 23 of the Federal Rules of Civil Procedure, the Constitution of the
United States, the laws of New Jersey and any other applicable law.”- Hon. Stanley R. Chesler (2004)

Georgine v. Amchem, 158 F.R.D. 314, 326 (E.D. Pa.).
Judge Reed explained that the notice program developed by Kinsella “goes beyond that provided in
[previous cases]” and “the efforts here are more than adequate to meet the requirements of Rule
23(c)(2).” (1993)

Higgins v. Archer-Daniels Midland Co., Second Judicial District Court, County of Bernalillo C-202-CV-
200306168 (N.M. 2d Jud. Dist. Bernalillo County)
“The Court finds that the form and method of notice given to the Settlement Class, including both
mailed notice to persons and firms for whom such notice was practical and extensive notice by
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publication through multiple national and specialized publications, complied with the requirements of
Rule 1-023 NMRA 2006, satisfied the requirements of due process, was the best notice practicable
under the circumstances, and constituted due and sufficient notice of the Settlement Agreements and
their Final Approval Hearing, and other matters referred to in the Notice. The notice given to the
Settlement Class was reasonably calculated under the circumstances to inform them of the pendency of
the actions involved in this case, of all material elements of the proposed Settlements, and of their
opportunity to exclude themselves from, object to, or comment on the Settlements and to appear at the
Final Approval Hearing.” - Hon. William F. Lang (2006)

In re Comcast Corp. Peer-to-Peer (P2P) Transmission Contract Litig., MDL 1992, No. 2:08-MD-1992
(E.D. Pa.)
"The notice program here was extensive and wide reaching."

"The Court finds that the form, substance, manner and timing of the notice to the Settlement Class of
the pendency of the action as a class action and of the terms and conditions of the proposed Settlement
constituted the best notice practicable under the circumstances and satisfied the requirements of due
process, Federal Rules of Civil Procedure, and any other applicable law or requirement.” - Hon.
Legrome D. Davis (2010)

In re Compact Disc Minimum Advertised Price Antitrust Litig., MDL No. 1361 (D. Me.).
In approving the notice plan for implementation in the Compact Disc Minimum Advertised Price
Antitrust Litigation, Judge D. Brock Hornby stated, “(the plan) provided the best practicable notice
under the circumstances and complied with the requirements of both 15 U.S.C. 15c(b) (1) . . . the
notice distribution was excellently designed, reasonably calculated to reach potential class members, and
ultimately highly successful in doing so.” - Hon. D. Brock Hornby (2002/2003)

In re Flonase Antitrust Litig., No. 08-3301 (E.D. Pa.)
“The notice provided was the best notice practicable under the circumstances and included individual
notice to those members of the Settlement Class whom the parties were able to identify through
reasonable efforts. The Court finds that Notice was also given by publication in multiple publications
as set forth in the Declarations of Daniel Coggeshall and Katherine Kinsella dated May 1, 2013. Such
notice fully complied in all respects with the requirements of Rule 23 of the Federal Rules of Civil
Procedure and due process of law.”- Hon. Anita B. Brody (2013)

In re International Air Transportation Surcharge Antitrust Litig., No. M 06-1793, MDL No. 1793
(N.D. Cal.).

In approving the notice plan in this litigation that involved a proposed settlement of more than $200
million for U.S. and U.K. class members, U.S. District Judge Charles Breyer repeatedly praised KNC:
“I think the notice is remarkable in this case. . . . This is brilliant. This is the best notice I've seen since
I've been on the bench. . . . Turning back to the settlement, again I want to applaud the parties for the
notice. I mean it's amazing. You know, it really is good. And I don't know where this person practices,
I don't even know that she's a lawyer. But she really did a good job on this announcement, this notice.
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So thank you very much. . . . And I once again want to express my sincere appreciation of the notice. I
mean, I was just extraordinarily impressed. Extraordinarily impressed.” - Hon. Charles Breyer (2008)

In re Jamster Marketing Litig., MDL 1751, No. 05-cv-0819
"Based on the Motion for Final Approval, the Court finds that the distribution of the Notice and
Claim Form were materially implemented to all Class Members in accordance with Federal Rule of
Civil Procedure 23(c)(2)(B), with the terms of the Settlement Agreement and the Preliminary
Approval Order." - Hon. Jeffrey T. Miller (2010)

In re Lawn Mower Engine Horsepower Marketing and Sales Litig., No. 2:08-md-01999 (E.D. Wis.)
“The form, content and manner of notice disseminated to the Class was the best notice practicable
under the circumstances, included individual notice to all members of the Class identified through
reasonable effort, and constituted due and sufficient notice of the proposed settlement, Settlement
Hearing, and related matters. The Notice Plan complied with the Order of Preliminary Approval, the
requirements of Fed. R. Civ. P. 23(c) and (e), and applicable standards of due process. Appropriate
proof of the mailing of the Postcard Notice and the publication of the Summary Notice has been filed
with the Court.” - Hon. Lynn Aderman (2010)

In re M3Power Razor System Marketing & Sales, No. 05-11177, MDL No. 1704 (D. Mass.)
“The form, content, and method of dissemination of the notice give to the Settlement Class were
adequate and reasonable, and constituted the best notice practicable under the circumstances. The
notice given, provided valid, due, and sufficient notice of the proposed settlement, the terms and
conditions set forth in the Amended Settlement Agreement, and those proceedings to all Persons
entitled to such notice, and said notice fully satisfied the requirements of Rule 23 of the Federal Rules
of Civil Procedure and due process.” - Hon. Douglas Woodlock (2011)

In re Municipal Derivatives Antitrust Litig., No. 08 Civ. 2516, MDL No. 1950 (S.D.N.Y.)
“This notice program fully complied with Fed. R. Civ. P. 23 and the requirements of due process. It
provided due and adequate notice to the Class.” - Hon. Victor Marrero (2011)

In re Pre-filled Propane Tank Marketing and Sales Practices Litig., MDL No. 2086, No. 09-2086 (W.D.
Mo.)
“Counsel verified that the mailing, publication, and affixed notices conformed to the preliminary
approval Order. The Court finds that the notice program fully complied with Rule 23 of the Federal
Rule of Civil Procedure and the requirements of due process, providing to the Class the best notice
practicable under the circumstances.” - Hon. Gary A. Fenner (2010)

In re The Celotex Corp., Nos. 90-10016-8B1 and 90-10017-8B1 (Bankr. M.D. Fla.).
“...all counsel should be complimented on the fact that they have gone to every possible conceivable
method of giving notice from putting it on TV and advertising it in papers..... the record should also
reflect the Court’s appreciation to Ms. Kinsella for all the work she’s done, not only in pure noticing,
but ensuring that what noticing we did was done correctly and professionally.” - Hon. Thomas E.
Baynes, Jr.
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In re Western States Wholesale Natural Gas Antitrust Litig., No. CV-03-1431, MDL No. 1566, (D.
Nev) (natural gas).
“This notice program fully complied with Federal Rule of Civil Procedure 23 and the requirements of
due process. It provided to the MDL Class the best notice practicable under the circumstances.” -
Hon. Philip M. Pro (2007)

Johns-Manville Corp., 68 B.R. 618, 626 (Bankr. S.D.N.Y. 1986), aff'd, 78 B.R. 407 (S.D.N.Y. 1987),
aff'd sub nom. Kane v. Johns-Manville Corp. 843 F.2d. 636 (2d Cir. 1988).
In approving the notification plan in the Johns-Manville Bankruptcy Reorganization, the court referred
to it as "an extensive campaign designed to provide the maximum amount of publicity ... that was
reasonable to expect of man and media." - Hon. Burton Lifland (1996/1998)

Keepseagle v. Vilsack, No. 99–3119 (D.D.C.)
“I’m not going to review in detail the exhaustive notice plan created and implemented by Plaintiffs’
counsel at this time. For those interested, I invite you to examine the several motions on the docket
relating to notice with affidavits from Kinsella Media, who class counsel have hired as Notice
Administrators.” - Hon. Emmet G. Sullivan (2011)

“In my view, the notice program was excellent and it persuades the Court that the parties worked
extremely hard to notify the entire class about the settlement so that as many class members as possible
can obtain monetary and other relief under the settlement.” - Hon. Emmet G. Sullivan (2011)

Lovelis v. Titeflex Corp., No. CIV-2004-211 (Ark. 9th Cir. Ct. Clark Co.)
“Accordingly, the Notice as disseminated is finally approved as fair, reasonable, and adequate notice
under the circumstances. The Court finds and concludes that due and adequate notice of the pendency
of this Action, the Stipulation, and the Final Settlement Hearing has been provided to members of the
Settlement Class, and the Court further finds and concludes that the Notice campaign described in the
Preliminary Approval Order and completed by the Parties complied fully with the requirements of
Arkansas Rule of Civil Procedure 23 and the requirements of due process under the Arkansas and
United States Constitutions. The Court further finds that the Notice campaign undertaken concisely
and clearly states in plain, easily understood language:
         (a.)     the nature of the action;
         (b.)     the definition of the class certified;
         (c.)     the class claims, issues or defenses;
         (d.)     that a Class Member may enter an appearance and participate in person or through
                  counsel if the member so desires;
         (e.)     that the Court will exclude from the class any member who requests exclusion, stating
                  when and how members may elect to be excluded; and
         (f.)     the binding effect of the Final Order and Judgment on Class Members.”
Hon. John A. Thomas (2007)

Naef v. Masonite Corp., No. CV-94-4033 (Ala. Cir. Ct. Mobile County)
“In November, 1997, the Court approved a massive Notice Program to apprise class members of the
class action Settlement, including the individually mailed, notices, publication notice and notification
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by way of other avenues nationally and locally. This Notice Program was designed by recognized
experts, approved by the mediator and the Court, and implemented diligently by the parties, at
defendants’ cost. It provided the best notice practicable to the Class, comports with due process, and
was clearly adequate under Alabama Rule of Civil Procedure 23(e), the United States Constitution, and
other applicable law.” - Hon. Robert G. Kendall (1997)

Yarrington v. Solvay Pharmaceuticals, Inc., No. 09-CV-2261 (D. Minn.)
“Kinsella Media, LLC designed a comprehensive program for providing notice to the Settlement Class,
which was approved by the Court on September 18, 2009. It was fully implemented in accordance with
the Court’s Order.” - Hon. Richard H. Kyle (2010)

	  
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            UNITED STATES DISTRICT COURT FOR THE EASTERN DISTRICT OF PENNSYLVANIA


                              NFL Concussion Settlement
     All Valid Claims of Retired NFL Football Players to be Paid in Full for 65 Years

         Monetary Awards, Baseline Medical Exams and Other Benefits Provided
                A federal court authorized this Notice. This is not a solicitation from a lawyer.
    The National Football League (“NFL”) and NFL Properties LLC (collectively, “NFL Parties”) have
     agreed to a Settlement of a class action lawsuit seeking medical monitoring and compensation for brain
     injuries allegedly caused by head impacts experienced in NFL football. The NFL Parties deny that they
     did anything wrong.
    The Settlement Class includes all retired players of the NFL, the American Football League (“AFL”)
     that merged with the NFL, the World League of American Football, NFL Europe League, and NFL
     Europa League, as well as immediate family members of retired players and legal representatives of
     incapacitated, incompetent or deceased retired players.
    The Settlement will provide eligible retired players with:
        Baseline neuropsychological and neurological exams to determine if retired players are: a)
         currently suffering from any neurocognitive impairment, including impairment serious enough for
         compensation, and b) eligible for additional testing and/or treatment ($75 million);
        Monetary awards for diagnoses of ALS (Lou Gehrig’s disease), Parkinson’s Disease, Alzheimer’s
         Disease, early and moderate Dementia and certain cases of chronic traumatic encephalopathy
         (CTE) (a neuropathological finding) diagnosed after death. The maximum monetary awards range
         from $1.5 million to $5 million depending on the diagnosis. There is no cap on the amount of funds
         available to pay these Monetary Awards and all valid claims will be paid in full for 65 years; and
        Education programs promoting safety and injury prevention with respect to football players,
         including safety-related initiatives in youth football, the education of retired players regarding the
         NFL’s medical and disability programs and other educational programs and initiatives ($10
         million).
    Individuals who represent incapacitated, incompetent or deceased retired players, or family members
     who meet certain criteria may also file claims for monetary awards (see Question 6).
    To get money, proof that injuries were caused by playing NFL football is not required.
    Settlement Class Members will need to register to get benefits. Settlement Class Members may
     sign up at the website for additional information about the Settlement and updates on the
     registration process.
    Your legal rights are affected even if you do nothing. Please read this Notice carefully.

                          YOUR LEGAL RIGHTS AND OPTIONS IN THIS SETTLEMENT
STAY IN THE       You do not need to do anything to be included in the Settlement Class. However, once the
SETTLEMENT        Court approves the Settlement, you will be bound by the terms and releases contained in the
CLASS             Settlement. There will be later notice to explain when and how to register for Settlement
                  benefits (see Question 26).
ASK TO BE         You will get no benefits. This is the only option that allows you to participate in any other
EXCLUDED          lawsuit against the NFL Parties about the claims in this case (see Question 30).

              QUESTIONS? CALL 1-800-000-0000 OR VISIT WWW.NFLCONCUSSIONSETTLEMENT.COM


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OBJECT              Write to the Court if you do not like the Settlement (see Question 35).

     These rights and options—and the deadlines to exercise them—are explained in this Notice.
     The Court in charge of this case still has to decide whether to approve the Settlement.
     This Notice is only a summary of the Settlement Agreement and your rights. You are encouraged
      to carefully review the complete Settlement Agreement at www.NFLConcussionSettlement.com.




                QUESTIONS? CALL 1-800-000-0000 OR VISIT WWW.NFLCONCUSSIONSETTLEMENT.COM


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            QUESTIONS? CALL 1-800-000-0000 OR VISIT WWW.NFLCONCUSSIONSETTLEMENT.COM


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                                CHAPTER 1: INTRODUCTION

                                         BASIC INFORMATION
 1. Why is this Notice being provided?

The Court in charge of this case authorized this Notice because you have a right to know about the proposed
Settlement of this lawsuit and about all of your options before the Court decides whether to give final
approval to the Settlement. This Notice summarizes the Settlement and explains your legal rights and
options.

Judge Anita B. Brody of the United States District Court for the Eastern District of Pennsylvania is
overseeing this case. The case is known as In re: National Football League Players’ Concussion Injury
Litigation, No. 2:12-md-02323. The people who sued are called the “Plaintiffs.” The National Football
League and NFL Properties LLC are called the “NFL Defendants.”

The Settlement may affect your rights if you are: (a) a retired player of the NFL, AFL, World League of
American Football, NFL Europe League, or NFL Europa League, (b) an authorized representative of a
deceased or legally incapacitated or incompetent retired player of those leagues, or (c) an individual with a
close legal relationship with a retired player of those leagues, such as a spouse, parent or child.

 2. What is the litigation about?

The Plaintiffs claim that retired players experienced head trauma during their NFL football playing careers
that resulted in brain injuries, which have caused or may cause them long-term neurological problems. The
Plaintiffs accuse the NFL Parties of being aware of the evidence and the risks associated with repetitive
traumatic brain injuries but failing to warn and protect the players against the long-term risks, and ignoring
and concealing this information from the players. The NFL Parties deny the claims in the litigation.

 3. What is a class action?

In a class action, one or more people, the named plaintiffs (who are also called proposed “class
representatives”) sue on behalf of themselves and other people with similar claims. All of these people
together are the proposed “class” or “class members.” When a class action is settled, one court resolves the
issues for all class members (in the settlement context, “settlement class members”), except for those who
exclude themselves from the settlement. In this case, the proposed class representatives are Kevin Turner
and Shawn Wooden. Excluding yourself means that you will not receive any benefits from the Settlement.
The process for excluding yourself is described in Question 30 of this Notice.

 4. Why is there a Settlement?

After extensive settlement negotiations mediated by retired United States District Court Judge Layn
Phillips, and further settlement negotiations under the supervision of the Court-appointed Special Master,
Perry Golkin, the Plaintiffs and the NFL Parties agreed to the Settlement.




             QUESTIONS? CALL 1-800-000-0000 OR VISIT WWW.NFLCONCUSSIONSETTLEMENT.COM


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A settlement is an agreement between a plaintiff and a defendant to resolve a lawsuit. Settlements conclude
litigation without the court or a jury ruling in favor of the plaintiff or the defendant. A settlement allows the
parties to avoid the cost and risk of a trial, as well as the delays of litigation.

If the Court approves this Settlement, the claims of all persons affected (see Question 6) and the litigation
between these persons and the NFL Parties are over. The persons affected by the Settlement are eligible for
the benefits summarized in this Notice and the NFL Parties will no longer be legally responsible to defend
against the claims made in this litigation.

The Court has not and will not decide in favor of the retired players or the other persons affected by the
Settlement or the NFL Parties, and by reviewing this Settlement the Court is not making and will not make
any findings that any law was broken or that the NFL Parties did anything wrong.

The proposed Class Representatives and their lawyers (“Co-Lead Class Counsel,” “Class Counsel,” and
“Subclass Counsel,” see Question 33) believe that the proposed Settlement is best for everyone who is
affected. The factors that Co-Lead Class Counsel, Class Counsel, and Subclass Counsel considered included the
uncertainty and delay associated with continued litigation, a trial and appeals, and the uncertainty of particular
legal issues that are yet to be determined by the Court. Co-Lead Class Counsel, Class Counsel and Subclass
Counsel balanced these and other substantial risks in determining that the Settlement is fair, reasonable and
adequate in light of all circumstances and in the best interests of the Settlement Class Members.

The Settlement Agreement is available at www.NFLConcussionSettlement.com.                    The Settlement
Agreement is also on file with the Clerk of the Court for the Eastern District of Pennsylvania (see Question
35 for the address). You can also get this information by calling 1-800-000-0000.

    5. What are the benefits of the Settlement?

Under the Settlement, the NFL Parties will pay to fund:

     Baseline neuropsychological and neurological examinations for eligible retired players, and additional
      medical testing, counseling and/or treatment if they are diagnosed with moderate cognitive impairment
      during the baseline examinations (up to $75 million, “Baseline Assessment Program”) (see Questions
      11-13);

     Monetary awards for diagnoses of ALS, Parkinson’s Disease, Alzheimer’s Disease, Level 2
      Neurocognitive Impairment (i.e., moderate Dementia), Level 1.5 Neurocognitive Impairment (i.e., early
      Dementia) and Death with CTE prior to [Date of Preliminary Approval Order] (see Questions 14-21);
      All valid claims under the Settlement, without limitation, will be paid in full throughout the 65-
      year life of the Settlement (the “Monetary Award Fund”); and

  Education programs promoting safety and injury prevention with respect to football players, including
   safety-related initiatives in youth football, the education of retired players regarding the NFL’s medical
   and disability programs and other educational programs and initiatives ($10 million) (see Question 24).

In addition, the NFL Parties will pay the cost of notifying the Settlement Class. Administrative costs and
expenses will be paid out of the Monetary Award Fund. The Baseline Assessment Program costs and
expenses will be paid out of the Baseline Assessment Program Fund.



              QUESTIONS? CALL 1-800-000-0000 OR VISIT WWW.NFLCONCUSSIONSETTLEMENT.COM


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The details of the Settlement benefits are in the Settlement Agreement, which is available at
www.NFLConcussionSettlement.com. The Settlement Agreement is also on file with the Clerk of the
Court for the Eastern District of Pennsylvania (see Question 35 for the address). You can also get this
information by calling 1-800-000-0000.

Note: The Baseline Assessment Program and Monetary Award Fund are completely independent of the
NFL Parties and any benefit programs that have been created between the NFL and the NFL Players
Association. The NFL Parties are not involved in determining the validity of claims.

                               WHO IS PART OF THE SETTLEMENT?
You need to decide whether you are included in the Settlement.

 6. Who is included in the Settlement Class?

This Settlement Class includes three types of people:

Retired NFL Football Players: Prior to [Date of Preliminary Approval Order], all living NFL Football
players who (1) have retired, formally or informally, from playing professional football with the NFL or
any Member Club, including AFL, World League of American Football, NFL Europe League, and NFL
Europa League players, or (2) were formerly on any roster, including preseason, regular season, or
postseason, of any such Member Club or league and no longer are under contract to a Member Club and are
not seeking active employment as a player with any Member Club, whether signed to a roster or signed to
any practice squad, developmental squad, or taxi squad of a Member Club.

Representative Claimants: An authorized representative, ordered by a court or other official of competent
jurisdiction under applicable state law, of a deceased or legally incapacitated or incompetent Retired NFL
Football Player.

Derivative Claimants: A spouse, parent, dependent child, or any other person who properly under
applicable state law asserts the right to sue independently or derivatively by reason of his or her relationship
with a living or deceased Retired NFL Football Player. (For example, a spouse asserting the right to sue
due to the injury of a husband who is a Retired NFL Football Player.)

 The Settlement recognizes two separate groups (“Subclasses”) of Settlement Class Members based on the
 Retired NFL Football Player’s injury status as of [Date of Preliminary Approval Order]:

       Subclass 1 includes: Retired NFL Football Players who were not diagnosed with ALS, Parkinson’s
        Disease, Alzheimer’s Disease, Level 2 Neurocognitive Impairment (i.e., moderate Dementia),
        Level 1.5 Neurocognitive Impairment (i.e., early Dementia) or Death with CTE prior to [Date of
        Preliminary Approval Order], and their Representative Claimants and Derivative Claimants.

       Subclass 2 includes:

             o   Retired NFL Football Players who were diagnosed with ALS, Parkinson’s Disease,
                 Alzheimer’s Disease, Level 2 Neurocognitive Impairment (i.e., moderate Dementia), or
                 Level 1.5 Neurocognitive Impairment (i.e., early Dementia) prior to [Date of Preliminary
                 Approval Order], and their Representative Claimants and Derivative Claimants; and

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             o   Representative Claimants of deceased Retired NFL Football Players who were diagnosed
                 with ALS, Parkinson’s Disease, Alzheimer’s Disease, Level 2 Neurocognitive Impairment
                 (i.e., moderate Dementia), or Level 1.5 Neurocognitive Impairment (i.e., early Dementia)
                 prior to death or who died prior to [Date of Preliminary Approval Order] and received a
                 diagnosis of Death with CTE.

 7. What players are not included in the Settlement Class?

The Settlement Class does not include: (a) current NFL players, and (b) people who tried out for NFL or
AFL Member Clubs, or World League of American Football, NFL Europe League or NFL Europa League
teams, but did not make it onto preseason, regular season or postseason rosters, or practice squads,
developmental squads or taxi squads.

 8. What if I am not sure whether I am included in the Settlement Class?

If you are not sure whether you are included in the Settlement Class, you may call 1-800-000-0000 with
questions or visit www.NFLConcussionSettlement.com. You may also write with questions to NFL
Concussion Settlement, P.O. Box 0000, City, ST 00000. You may also consult with your own attorney.

 9. What are the different levels of neurocognitive impairment?

In addition to ALS, Parkinson’s Disease, and Alzheimer’s Disease, various levels of neurocognitive
impairment are covered by this Settlement. More details can be found in the Injury Definitions, which are
available at www.NFLConcussionSettlement.com or by calling 1-800-000-0000.

The level of Neurocognitive Impairment will be established in part with evidence of decline in performance
in at least two areas subject to clinical evaluative testing (complex attention, executive function, learning
and memory, language, or perceptual-spatial), provided one of the areas is executive function, learning and
memory, or complex attention, and related functional impairment as follows:

   LEVEL OF NEUROCOGNITIVE                TYPE OF IMPAIRMENT                   DEGREE OF DECLINE
         IMPAIRMENT
            Level 1                   Moderate cognitive impairment         Moderate cognitive decline

             Level 1.5                        Early Dementia               Moderate to severe cognitive
                                                                                     decline
              Level 2                      Moderate Dementia                Severe cognitive decline

 If neurocognitive impairment is temporary and only occurs with delirium, or as a result of substance abuse
 or medicinal side effects, it is not covered by the Settlement.

 10. Must a retired player be vested under the NFL Retirement Plan to receive Settlement benefits?

No. A retired player can be a Settlement Class Member regardless of whether he is vested due to credited
seasons or total and permanent disability under the Bert Bell/Pete Rozelle NFL Player Retirement Plan.



             QUESTIONS? CALL 1-800-000-0000 OR VISIT WWW.NFLCONCUSSIONSETTLEMENT.COM


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                         CHAPTER 2: SETTLEMENT BENEFITS

                            THE BASELINE ASSESSMENT PROGRAM
 11. What is the Baseline Assessment Program (“BAP”)?

All living retired players who have earned at least one-half of an Eligible Season (see Question 18), who do
not exclude themselves from the Settlement (see Question 30), and who timely register to participate in the
Settlement (see Question 26) may participate in the Baseline Assessment Program (“BAP”).

The BAP will provide baseline neuropsychological and neurological assessment examinations to determine
whether retired players are currently suffering from cognitive impairment. Retired players will have from
two to ten years, depending on their age as of the date the Settlement is finally approved and any appeals
are fully resolved (“Final Settlement Approval”), to have a baseline examination conducted through a
nationwide network of qualified and independent medical providers.

       Retired players 43 or older as of the date the Settlement goes into effect will need to have a baseline
        examination within two years of the start of the BAP.

       Retired players under the age of 43 as of the date the Settlement goes into effect will need to have a
        baseline examination within 10 years of the start of the BAP, or before they turn 45, whichever
        comes sooner.

Retired players who are diagnosed with Level 1 Neurocognitive Impairment (i.e., moderate cognitive
impairment) are eligible to receive further medical testing and/or treatment (including counseling and
pharmaceuticals) for that condition during the ten-year term of the BAP or within five years from diagnosis,
whichever is later.

Retired players who participate in the BAP will be encouraged to provide their confidential medical records
for use in research into cognitive impairment and safety and injury prevention with respect to football
players.

 Although all retired players are encouraged to take advantage of the BAP and receive a baseline
 examination, they do not need to participate in the BAP to receive a monetary award, but any award to the
 retired player may be reduced by 10% if the retired player does not participate in the BAP, as explained
 in more detail in Question 20.

 12. Why should a retired player get a BAP baseline examination?

Getting a BAP baseline examination will be beneficial. It will determine whether the retired player has any
cognitive impairment. If he is diagnosed with Level 1 Neurocognitive Impairment (i.e., moderate cognitive
impairment), he will be eligible to receive further medical testing and/or treatment for that condition. In
addition, regardless of any cognitive impairment today, the results of the BAP baseline examination can be
used as a comparison to measure any subsequent deterioration of cognitive condition over the course of his
life. Participants also will be examined by at least two experts during the BAP baseline examinations, a
neuropsychologist and a neurologist, and the retired player and/or his family members will have the
opportunity to ask questions relating to any cognitive impairment during those examinations.

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Participation in the BAP does not prevent the retired player from filing a claim for a monetary award. For
the next 65 years, retired players will be eligible for compensation paid from the Monetary Award Fund if
the player develops a Qualifying Diagnosis (see Question 14). Participation in the BAP also will help
ensure that, to the extent the retired player receives a Qualifying Diagnosis in the future, he will receive the
maximum monetary award to which he is entitled (see Question 20).

 13. How does a retired player schedule a baseline assessment examination and where will it be
    done?

Retired players need to register for Settlement benefits before they can get a baseline assessment
examination. Registration for benefits will not be available until after Final Settlement Approval.
However, a retired player may provide his name and contact information now at
www.NFLConcussionSettlement.com or by calling 1-800-000-0000. This ensures that the retired
player will receive additional notice about the registration process and deadlines when it becomes
available.

The BAP Administrator will send notice to those retired players determined during registration to be
eligible for the BAP, explaining how to arrange for an initial baseline assessment examination. The BAP
will use a nationwide network of qualified and independent medical providers who will provide both the
initial baseline assessment as well as any further testing and/or treatment. The BAP Administrator, which
will be appointed by the Court, will establish the network of medical providers.

                                         MONETARY AWARDS
 14. What diagnoses qualify for monetary awards?

Monetary awards are available for the diagnosis of ALS, Parkinson’s Disease, Alzheimer’s Disease, Level 2
Neurocognitive Impairment (i.e., moderate Dementia), Level 1.5 Neurocognitive Impairment (i.e., early
Dementia), or Death with CTE (the “Qualifying Diagnoses”). A Qualifying Diagnosis may occur at any
time until the end of the 65-year term of the Monetary Award Fund.

If a retired player receives a monetary award based on a Qualifying Diagnosis, and later is diagnosed with a
different Qualifying Diagnosis that entitles him to a larger monetary award than his previous award, he will
be eligible for an increase in compensation. This would also apply to Derivative Claimants.

Qualifying Diagnoses must be made by approved qualified specialists. If and when Final Settlement
Approval is obtained, the Claims Administrator will create and maintain a list of specialists who may make
an authorized Qualifying Diagnoses if no such diagnosis has already been made by a qualified specialist
before the Settlement is effective.

 15. Do I need to prove that playing professional football caused the retired player’s Qualifying
     Diagnosis?

No. You do not need to prove that a retired player’s Qualifying Diagnosis was caused by playing
professional football or that he experienced head injuries in the NFL, AFL, World League of American
Football, NFL Europe League, or NFL Europa League in order to receive a monetary award. The fact that a
retired player receives a Qualifying Diagnosis is sufficient to be eligible for a monetary award.

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You also do not need to exclude the possibility that the Qualifying Diagnosis was caused or contributed to
by amateur football or other professional football league injuries or by various risk factors linked to the
Qualifying Diagnosis.

 16. How much money will I receive?

The amount of money you will receive depends on the retired player’s:
     Specific Qualifying Diagnosis,
     Age at the time of diagnosis (see Question 17),
     Number of seasons played or practiced in the NFL or the AFL (see Question 18),
     Diagnosis of a prior stroke or traumatic brain injury (see Question 19), and
     Participation in a baseline assessment exam (see Question 20).

 The amount of money you will receive also depends on whether:
     There are any legally enforceable liens on the award,
     Any retainer agreement with an attorney, and
     The Court makes any further assessments (see Question 34).

Certain costs and expenses related to resolving any liens for Settlement Class Members will be paid out of
such Settlement Class Members’ Monetary Awards or Derivative Claimant Awards.

The table below lists the maximum amount of money available for each Qualifying Diagnosis before any
adjustments are made.

               QUALIFYING DIAGNOSIS                              MAXIMUM AWARD AVAILABLE
        Amyotrophic lateral sclerosis (ALS)                             $5 million
       Death with CTE (diagnosed after death)                           $4 million
                  Parkinson’s Disease                                  $3.5 million
                 Alzheimer’s Disease                                   $3.5 million
         Level 2 Neurocognitive Impairment                              $3 million
              (i.e., moderate Dementia)
        Level 1.5 Neurocognitive Impairment                               $1.5 million
                 (i.e., early Dementia)

Monetary awards may be increased up to 2.5% per year during the 65-year Monetary Award Fund term for
inflation.

To receive the maximum amount outlined in the table, a retired player must have played for at least five
Eligible Seasons (see Question 18) and have been diagnosed when younger than 45 years old.

Derivative Claimants are eligible to be compensated from the monetary award of the retired player with
whom they have a close relationship in an amount of 1% of that award. If there are multiple Derivative
Claimants for the same retired player, the 1% award will be divided among the Derivative Claimants
according to the law where the retired player (or his Representative Claimant, if any) resides.




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 17. How does the age of the retired player at the time of first diagnosis affect a monetary award?

Awards are reduced for retired players who were 45 or older when diagnosed. The younger a retired player
is at the time of diagnosis, the greater the award he will receive. Setting aside the other downward
adjustments to monetary awards, the table below provides:

       The average award for people diagnosed between the ages of 45-79; and
       The amount of the award for those under age 45 and over 79.

The actual amount will be determined based on each retired player’s actual age at the time of diagnosis and
on other potential adjustments.

   AGE AT                        DEATH
  DIAGNOSIS        ALS           W/CTE        PARKINSON’S ALZHEIMER’S           LEVEL 2       LEVEL 1.5
 Under 45        $5,000,000     $4,000,000      $3,500,000     $3,500,000      $3,000,000     $1,500,000
 45 - 49         $4,500,000     $3,200,000      $2,470,000     $2,300,000      $1,900,000       $950,000
 50 - 54         $4,000,000     $2,300,000      $1,900,000     $1,600,000      $1,200,000       $600,000
 55 - 59         $3,500,000     $1,400,000      $1,300,000     $1,150,000        $950,000       $475,000
 60 - 64         $3,000,000     $1,200,000      $1,000,000       $950,000        $580,000       $290,000
 65 - 69         $2,500,000       $980,000        $760,000       $620,000        $380,000       $190,000
 70 - 74         $1,750,000       $600,000        $475,000       $380,000        $210,000       $105,000
 75 - 79         $1,000,000       $160,000        $145,000       $130,000         $80,000         $40,000
 80+              $300,000         $50,000         $50,000        $50,000         $50,000         $25,000

Note: The age of the retired player at diagnosis (not the age when applying for a monetary award) is used to
determine the monetary amount awarded.

 18. How does the number of seasons a retired player played affect a monetary award?
Awards are reduced for retired players who played less than five “Eligible Seasons.” The Settlement uses
the term “Eligible Season” to count the seasons in which a retired player played or practiced in the NFL or
AFL. A retired player earns an Eligible Season for:
       Each season where he was on an NFL or AFL Member Club’s “Active List” for either three or
        more regular season or postseason games, or

       Where he was on an Active List for one or more regular or postseason games and then spent two
        regular or postseason games on an injured reserve list or inactive list due to a concussion or head
        injury.

       A retired player also earns one-half of an Eligible Season for each season where he was on an NFL
        or AFL Member Club’s practice, developmental, or taxi squad for at least eight games, but did not
        otherwise earn an Eligible Season.

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The “Active List” means the list of all players physically present, eligible and under contract to play for an
NFL or AFL Member Club on a particular game day within any applicable roster or squad limits in the
applicable NFL or AFL Constitution and Bylaws.

Time spent playing or practicing in the World League of American Football, NFL Europe League, and NFL
Europa League does not count towards an Eligible Season.

The table below lists the reductions to a retired player’s (or his Representative Claimant’s) monetary award
if the retired player has less than five Eligible Seasons. To determine the total number of Eligible Seasons
credited to a retired player, add together all of the earned Eligible Seasons and half Eligible Seasons. For
example, if a retired player earned two Eligible Seasons and three half Eligible Seasons, he will be credited
with 3.5 Eligible Seasons.

             NUMBER OF ELIGIBLE SEASONS                             PERCENTAGE OF REDUCTION
                        4.5                                                  10%
                         4                                                   20%
                        3.5                                                  30%
                         3                                                   40%
                        2.5                                                  50%
                         2                                                   60%
                        1.5                                                  70%
                         1                                                   80%
                         .5                                                  90%
                         0                                                  97.5%

   19. How do prior strokes or traumatic brain injuries of a retired player affect a monetary award?

It depends. A retired player’s monetary award (or his Representative Claimant monetary award) will be
reduced by 75% if he experienced: (1) a medically diagnosed stroke that occurred before or after the time
the retired player played NFL football, but before he received a Qualifying Diagnosis; or (2) a severe
traumatic brain injury unrelated to NFL football that occurred during or after the time the retired
player played NFL football, but before he received a Qualifying Diagnosis.

The award will not be reduced if the retired player (or his Representative Claimant) can show by
clear and convincing evidence that the stroke or traumatic brain injury is not related to the
Qualifying Diagnosis.

  20. How is a retired player’s monetary award affected if he does not participate in the BAP
      program?

It depends on when the retired player receives his Qualifying Diagnosis and the nature of the diagnosis.
There is a 10% reduction to the monetary award if the retired player does not participate in the BAP and:

       Did not receive a Qualifying Diagnosis prior to [Date of Preliminary Approval Order], and




             QUESTIONS? CALL 1-800-000-0000 OR VISIT WWW.NFLCONCUSSIONSETTLEMENT.COM


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        Receives a Qualifying Diagnosis (other than ALS) after his deadline to receive a BAP baseline
         assessment examination.

 21. Can I receive a monetary award even though the retired player is dead?

Yes. Representative Claimants for deceased retired players with a Qualifying Diagnoses will be eligible to
receive monetary awards. If the deceased retired player died before January 1, 2006, however, the
Representative Claimant will only receive a monetary award if the Court determines that a wrongful death
or survival claim is allowed under applicable state law.

Derivative Claimants also will be eligible for a total award of 1% of the monetary award that the
Representative Claimant for the deceased retired player receives (see Question 16).

Representative and Derivative Claimants will also need to register for Settlement benefits (see Question
26).

 22. Will this Settlement affect a retired player’s participation in NFL or NFLPA-related benefits
 programs?

No. The Settlement benefits are completely independent of any benefits programs that have been created
by or between the NFL and the NFL Players Association. This includes the 88 Plan (Article 58 of the 2011
Collective Bargaining Agreement) and the Neuro-Cognitive Disability Benefit (Article 65 of the 2011
Collective Bargaining Agreement).

Note: The Settlement ensures that a retired player who has signed, or will sign, a release as part of his
Neuro-Cognitive Disability Benefit application, will not be denied Settlement benefits.

 23. Will this Settlement prevent retired players from bringing workers’ compensation claims?

No. Claims for workers’ compensation will not be released by this Settlement.

                                             EDUCATION FUND
 24. What type of education programs are supported by the Settlement?

The Settlement will provide $10 million in funding to support education programs promoting safety and
injury prevention with respect to football players, including safety-related initiatives in youth football, the
education of retired players regarding the NFL’s medical and disability programs and other educational
programs and initiatives.

Retired players will be able to actively participate in such initiatives if they desire.




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                                 CHAPTER 3: YOUR RIGHTS

                                 REMAINING IN THE SETTLEMENT
 25. What am I giving up to stay in the Settlement Class?

Unless you exclude yourself from the Settlement, you cannot sue the NFL Parties, the Member Clubs, or
related individuals and entities, or be part of any other lawsuit against the NFL Parties about the issues in
this case. This means you give up your right to continue to litigate any claims related to this Settlement, or
file new claims, in any court or in any proceeding at any time. However, the Settlement does not release
any claims for workers’ compensation (see Question 23) or claims alleging entitlement to NFL
medical and disability benefits available under the Collective Bargaining Agreement.

Please note that certain Plaintiffs also sued the football helmet manufacturer Riddell and certain related
entities (specifically, Riddell, Inc., Riddell Sports Group Inc., All American Sports Corporation, Easton-
Bell Sports, Inc., EB Sports Corp., Easton-Bell Sports, LLC, and RBG Holdings Corp.). They are not
parties to this Settlement and claims against them are not released by this Settlement.

Article XVIII of the Settlement Agreement contains the complete text and details of what Settlement Class
Members give up unless they exclude themselves from the Settlement, so please read it carefully. The
Settlement Agreement is available at www.NFLConcussionSettlement.com. The Settlement Agreement is
also on file with the Clerk of the Court for the Eastern District of Pennsylvania (see Question 35 for the
address). You can also get this information by calling 1-800-000-0000. If you have any questions you can
talk to the law firms listed in Question 33 for free or you can talk to your own lawyer if you have questions
about what this means.

                                       HOW TO GET BENEFITS
 26. How do I get Settlement benefits?

To get benefits, you will need to register. This is true for all Settlement Class Members, including
Representative and Derivative Claimants. Registration for benefits will not begin until after Final
Settlement Approval (see Question 37). If and when that occurs, further notice will be provided about the
registration process and deadlines. However, you may provide your name and contact information now
at www.NFLConcussionSettlement.com or by calling 1-800-000-0000. This ensures that you will
receive additional notice about the registration process and deadlines when that becomes available.
To receive any Settlement benefits, you must register on or before 180 days from the date that further notice
about the registration process and deadlines is posted on www.NFLConcussionSettlement.com.
Information about the registration deadline will also be available by calling 1-800-000-0000.


 27. Is there a time limit for Retired NFL Football Players and Representative Claimants to file
     claims for monetary awards?

Yes. Retired NFL Football Players and Representative Claimants for retired players who are diagnosed by
the date of Final Settlement Approval must submit claims for monetary awards within two years of the date
that further notice about the registration process and deadlines is posted on

             QUESTIONS? CALL 1-800-000-0000 OR VISIT WWW.NFLCONCUSSIONSETTLEMENT.COM


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www.NFLConcussionSettlement.com. Retired NFL Football Players and Representative Claimants for
retired players who are diagnosed after the date of Final Settlement Approval have two years from the date
of diagnosis to file claims. This deadline may be extended to within four years of the Qualifying Diagnosis
or the date that further notice about the registration process and deadlines is posted on
www.NFLConcussionSettlement.com, whichever is later, if the Retired NFL Football Player or
Representative Claimant can show substantial hardship beyond the Qualifying Diagnosis. Derivative
Claimants must submit claims no later than 30 days after the Retired NFL Football Player through whom
the close relationship is the basis for the claim (or the Representative Claimant of that retired player)
receives a notice that he is entitled to a monetary award. All claims must be submitted by the end of the 65-
year term of the Monetary Award Fund.

 28. Can I re-apply for compensation if my claim is denied?

Yes. A Settlement Class Member who submits a claim for a monetary award that is denied can re-apply in
the future should the Retired NFL Football Player’s medical condition change.

 29. Can I appeal the determination of my monetary award claim?

 Yes. The Settlement establishes a process for a Settlement Class Member to appeal the denial of a
 monetary award claim or the amount of the monetary award.

                       EXCLUDING YOURSELF FROM THE SETTLEMENT
If you do not want to receive benefits from this Settlement, and you want to retain the right to sue the NFL
Parties about the legal issues in this case, then you must take steps to remove yourself from the Settlement.
You may do this by asking to be excluded – sometimes referred to as “opting out” of – the Settlement Class.

 30. How do I get out of the Settlement?

To exclude yourself from the Settlement, you must mail a letter or other written document to the Claims
Administrator. Your request must include:

           Your name, address, telephone number, and date of birth;

           A copy of your driver’s license or other government issued identification;

           A statement that “I wish to exclude myself from the Settlement Class in In re: National Football
            League Players’ Concussion Injury Litigation, No. 2:12-md-02323” (or substantially similar
            clear and unambiguous language); and

           Your signature by hand (not any form of electronic signature), and the date on which you signed
            it (even if represented by an attorney).
You must mail your exclusion request, postmarked no later than Month 00, 0000 [Date ordered by the
Court], to:
                                     NFL Concussion Settlement
                                           P.O. Box 0000,
                                           City, ST 00000

             QUESTIONS? CALL 1-800-000-0000 OR VISIT WWW.NFLCONCUSSIONSETTLEMENT.COM


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 31. If I do not exclude myself, can I sue the NFL Parties for the same thing later?

No. Unless you exclude yourself, you give up the right to sue the NFL Parties for all of the claims that this
Settlement resolves. If you want to maintain your own lawsuit relating to the claims released by the
Settlement, then you must exclude yourself by Month 00, 0000.

 32. If I exclude myself, can I still get benefits from this Settlement?


No. If you exclude yourself from the settlement you will not get any Settlement benefits. You will not
be eligible to receive a monetary award or participate in the Baseline Assessment Program.

                               THE LAWYERS REPRESENTING YOU
 33. Do I have a lawyer in the case?
The Court has appointed a number of lawyers to represent all Settlement Class Members as “Co-Lead Class
Counsel,” “Class Counsel” and “Subclass Counsel” (see Question 6). They are listed at the end of this
Notice with their contact information.

You will not be charged for contacting these lawyers. If you are represented by an attorney, you may
contact your attorney to discuss the proposed Settlement. You do not have to hire your own attorney.
However, if you want to be represented by your own lawyer, you may hire one at your own expense.

 34. How will the lawyers be paid?

 At a later date to be determined by the Court, Co-Lead Class Counsel, Class Counsel and Subclass
 Counsel will ask the Court for an award of attorneys’ fees and reasonable costs. The NFL Parties have
 agreed not to oppose or object to the request for attorneys’ fees and reasonable incurred costs if the
 request does not exceed $112.5 million. These fees and incurred costs will be paid separately by the NFL
 Parties and not from the Baseline Assessment Program Fund, Education Fund, or Monetary Award Fund.
 Settlement Class Members will have an opportunity to comment on and/or object to this request at an
 appropriate time. Ultimately, the award of attorneys’ fees and reasonable costs to be paid by the NFL
 Parties is subject to the approval of the Court.

After Final Settlement Approval, Co-Lead Class Counsel may ask the Court to set aside up to five percent
of each Monetary Award and Derivative Claimant Award to facilitate the Settlement program and related
efforts of Co-Lead Class Counsel, Class Counsel and Subclass Counsel. If approved, this money would be
held in a separate fund overseen by the Court. Any future request for a set-aside will describe: (1) the
proposed amount; (2) how the money will be used; and (3) any other relevant information. This “set-
aside” would come out of the claimant’s attorney’s fee if represented by individual counsel or, if not
represented, out of the Monetary Award or Derivative Claimant Award itself. No money will be held back
or set aside from any award without a Court order. The set-aside is a matter between Class Counsel and
individual counsel for Settlement Class Members. The NFL Parties do not take a position on the proposal.




             QUESTIONS? CALL 1-800-000-0000 OR VISIT WWW.NFLCONCUSSIONSETTLEMENT.COM


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                                OBJECTING TO THE SETTLEMENT
You may tell the Court that you do not agree with the Settlement or some part of it.

 35. How do I tell the Court if I do not like the Settlement?

If you do not exclude yourself from the Settlement Class, you may object to the Settlement if you do not
like some part of it. The Court will consider your views. To object to the Settlement, you or your attorney
must submit your written objection to the Court. The objection must include the following:

       The name of the case and multi-district litigation, In re: National Football League Players’
        Concussion Injury Litigation, No. 2:12-md-02323;

       Your name, address, telephone number, and date of birth;

       The name of the Retired NFL Football Player through which you are a Representative Claimant or
        Derivative Claimant (if you are not a retired player);

       Written evidence establishing that you are a Settlement Class Member;

       A detailed statement of your objections, and the specific reasons for each such objection, including
        any facts or law you wish to bring to the Court’s attention;

       Any other supporting papers, materials or briefs that you want the Court to consider in support of
        your objection; and

       Your signature by hand (not any form of electronic signature), and the date on which you signed it
        (even if represented by an attorney).

The requirements to object to the Settlement are described in detail in the Settlement Agreement in section
14.3.

You must file your objection with the Court no later than Month 00, 0000 [date ordered by the Court]:

                                                   COURT
                          Clerk of the District Court/NFL Concussion Settlement
                    United States District Court for the Eastern District of Pennsylvania
                                     James A. Byrne U.S. Courthouse,
                                             601 Market Street,
                                       Philadelphia, PA 19106-1797


 36. What is the difference between objecting to the Settlement and excluding myself?

Objecting is simply telling the Court that you do not like something about the Settlement or want it to say
something different. You can object only if you do not exclude yourself from the Settlement Class.
Excluding yourself is telling the Court that you do not want to be part of the Settlement Class and you do

             QUESTIONS? CALL 1-800-000-0000 OR VISIT WWW.NFLCONCUSSIONSETTLEMENT.COM


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not want to receive any Settlement benefits. If you exclude yourself, you have no basis to object because
the case no longer affects you.

                               THE COURT’S FAIRNESS HEARING
The Court will hold a hearing to decide whether to approve the Settlement. You may attend and you may
ask to speak, but you do not have to. The Court will determine if you are allowed to speak if you request to
do so (see Question 39).

 37. When and where will the Court hold a Fairness Hearing concerning the Settlement?

The Court will hold the Fairness Hearing at XX:00 x.m. on Month 00, 0000, at the United States District
Court for the Eastern District of Pennsylvania, located at the James A. Byrne U.S. Courthouse, 601 Market
Street, Philadelphia, PA 19106-1797. The hearing may be moved to a different date or time without
additional notice, so it is a good idea to check www.NFLConcussionSettlement.com or call 1-800-000-
0000. At this hearing, the Court will hear evidence about whether the Settlement is fair, reasonable, and
adequate. If there are objections, the Court will consider them and may elect to listen to people who have
asked to speak at the hearing. After the hearing, the Court will decide whether to approve the Settlement.
We do not know how long these decisions will take.

The Court will consider the request for attorneys’ fees and reasonable costs by Co-Lead Class Counsel,
Class Counsel and Subclass Counsel (see Question 34) after the Fairness Hearing, which will be set at a
later date by the Court.

 38. Do I have to attend the hearing?
No. Co-Lead Class Counsel, Class Counsel and Subclass Counsel will answer questions the Court may
have. But you are welcome to attend at your own expense. If you timely file an objection, you do not have
to come to Court to talk about it. As long as you filed your written objection on time, the Court will
consider it. You may also have your own lawyer attend at your expense, but it is not necessary.

 39. May I speak at the hearing?
You may ask the Court for permission to speak at the Fairness Hearing. The Court will determine whether
to grant you permission to speak. To make such a request, you must file a written notice stating that it is
your wish to speak at the In re: National Football League Players’ Concussion Injury Litigation, No. 2:12-
md-02323 Fairness Hearing. Be sure to include your name, address, telephone number, and your signature.
Your request to speak must be filed with the Court no later than Month 00, 0000 at the address in Question
35.

                                  GETTING MORE INFORMATION
 40. How do I get more information?
This Notice summarizes the proposed Settlement. More details are in the Settlement Agreement. You can
get a copy of the Settlement Agreement at www.NFLConcussionSettlement.com. The Settlement
Agreement is also on file with the Clerk of the Court for the Eastern District of Pennsylvania (see Question


             QUESTIONS? CALL 1-800-000-0000 OR VISIT WWW.NFLCONCUSSIONSETTLEMENT.COM


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35 for the address). You also may write with questions to NFL Concussion Settlement, P.O. Box 0000,
City, ST 00000 or call 1-800-000-0000.

PLEASE DO NOT WRITE OR TELEPHONE THE COURT OR THE NFL PARTIES FOR
INFORMATION ABOUT THE SETTLEMENT OR THIS LAWSUIT.




            QUESTIONS? CALL 1-800-000-0000 OR VISIT WWW.NFLCONCUSSIONSETTLEMENT.COM


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                     IMPORTANT DATES AND CONTACT INFORMATION
Exclusion “Opt Out” Deadline Month 00, 2014
Objection Deadline            Month 00, 2014
Deadline to Request to Speak Month 00, 2014
at the Fairness Hearing
Fairness Hearing              Month 00, 2014
Start of Registration Period  The start of the registration process and related deadlines will be
                              announced on www.NFLConcussionSettlement.com following Final
                              Settlement Approval
Registration Deadline         180 days after registration begins
Submit a Claim                    Retired NFL Football Players and Representative Claimants for
                                     retired players who are diagnosed by the date of Final Settlement
                                     Approval must submit claims for monetary awards within two
                                     years of the announcement of the registration process.
                                  Retired NFL Football Players and Representative Claimants for
                                     retired players who are diagnosed after the date of Final
                                     Settlement Approval have two years from the date of diagnosis to
                                     file claims.
Settlement Administrator      NFL Concussion Settlement
                              P.O. Box 0000
                              City, ST 00000
                              Tel: 1-800-000-0000
Court                        Clerk of the District Court/NFL Concussion Settlement
                             United States District Court for the Eastern District of Pennsylvania
                             James A. Byrne U.S. Courthouse,
                             601 Market Street,
                             Philadelphia, PA 19106-1797
Class Counsel                 Christopher A. Seeger                Sol Weiss
                              Co-Lead Class Counsel                Co-Lead Class Counsel
                              SEEGER WEISS LLP                     ANAPOL SCHWARTZ
                              77 Water Street                      1710 Spruce Street
                              New York, NY 10005                   Philadelphia, PA 19103
                              Steven C. Marks                      Gene Locks
                              Class Counsel                        Class Counsel
                              PODHURST ORSECK P.A.                 LOCKS LAW FIRM
                              City National Bank Building          The Curtis Center, Suite 720 East
                              25 W. Flagler Street, Suite 800      601 Walnut Street
                              Miami, FL 33130-1780                 Philadelphia, PA 19106
                              Arnold Levin                         Dianne M. Nast, Counsel –
                              Counsel - Subclass 1                 Counsel - Subclass 2
                              LEVIN FISHBEIN SEDRAN & NAST LAW LLC
                              BERMAN                               1101 Market Street, Suite 2801
                              510 Walnut Street, Suite 500         Philadelphia, Pennsylvania 19107
                              Philadelphia, PA 19106



            QUESTIONS? CALL 1-800-000-0000 OR VISIT WWW.NFLCONCUSSIONSETTLEMENT.COM


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Reminder: Provide your name and contact information now at www.NFLConcussionSettlement.com or by
calling 1-800-000-0000. This ensures that you will receive additional notice about the registration process
and deadlines when it becomes available.




             QUESTIONS? CALL 1-800-000-0000 OR VISIT WWW.NFLCONCUSSIONSETTLEMENT.COM


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       Exhibit C-4
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NFL Concussion Claims Administrator                                                                     PRESORTED
                                                                                                     FIRST-CLASS MAIL
2867 E. Allegheny Avenue                                                                               U.S. POSTAGE
Philadelphia, PA 19134                                                                                      PAID
                                                                        RETURN SERVICE REQUESTED            SED




NFL Concussion Settlement
Important Information Inside
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                     NFL Concussion Settlement
Retired NFL Players and Their Families Could Get Money and Benefits
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       Exhibit C-5
       NFL Concussion Settlement
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All Valid Claims of Retired NFL Football Players to be Paid in Full for 65 Years
   Monetary Awards, Baseline Medical Exams and Other Benefits Provided

                           The NFL and NFL Properties have agreed to a class action Settlement
                           with retired players who sued, accusing them of failing to warn of and
                           hiding the dangers of brain injury associated with playing football. The
                           Settlement does not establish any wrongdoing on the part of the NFL or
                           NFL Properties.


                 Who is    The Settlement Class generally includes all retired players of the NFL,
         included in the   AFL, World League of American Football, NFL Europe League and
           Settlement?     NFL Europa League. The Settlement Class includes immediate family
                           members of retired players and legal representatives of incapacitated,
                           incompetent or deceased players.

         What does the     The Settlement provides money for three benefits:
          Settlement       • Baseline medical exams to determine if retired players suffer from
             provide?        neurocognitive impairment and are entitled to additional testing and/or
                             treatment ($75 million),
                           • Monetary awards for diagnoses of ALS (Lou Gehrig’s disease),
                             Alzheimer’s Disease, Parkinson’s Disease, Dementia and certain cases
                             of chronic traumatic encephalopathy or CTE (a neuropathological
                             finding) diagnosed after death. The maximum monetary awards range
                             from $1.5 million to $5 million depending on the diagnosis. All valid
                             claims will be paid in full for 65 years; and
                           • Education programs and initiatives related to football safety ($10 million).


                           How can I get benefits?
                           You will need to register for benefits after the final approval of the
                           Settlement. You may provide your contact information now at the website
                           or phone number below to ensure that you receive additional notice
                           about the registration process.
                           Retired players do not have to prove that their injuries were caused by
                           playing NFL football to get money from the Settlement.


                           What are my rights?
                           You do not need to do anything to be included in the Settlement Class. All
                           Settlement Class members will be bound by the Settlement and give up the
                           right to sue the NFL individually. If you want to keep your right to sue the
                           NFL, you must exclude yourself from the Class by Month 00, 2014. If you
                           exclude yourself, you will not receive any benefits under the Settlement. If
                           you stay in the Class, you may object to the Settlement by Month 00, 2014.
                           The Court will hold a hearing on Month 00, 2014 to consider whether to
                           approve the Settlement. You do not have to attend. However, you and/
                           or your own lawyer may attend and request to speak at the hearing at your
                           own expense. At a later date, the attorneys will ask the Court for an award
                           of attorneys’ fees and reasonable costs. The NFL and NFL Properties
                           have agreed not to oppose or object to the request if the request does not
                           exceed $112.5 million. The money would be paid by the NFL and NFL
                           Properties in addition to the payments described above.


Please Share this Notice with Other Retired Players and Their Families
   For More Information on the Settlement and Registering for Benefits:
    1-800-000-0000 or www.NFLConcussionSettlement.com
